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Rodriquez v. New York City Police Dep't

United States District Court for the Southern District of New York
October 24, 2011, Decided;v October 24, 2011, Filed
10 Civ. 891 (BSJ) (THK)

Reporter
2011 U.S. Dist.` LEX|S 122871 *; 2011 WL 5057205

CARLOS RODR|GUEZ, Plaintiff, -against- NEW YORK
C|TY POLICE DEPART|V|ENT, NEW YORK C|TY
POL|CE COl\/|l\/|lSS|ONER, et a|., Defendants.

Prior History: Rodr/'duez v. NeW York City Po//`ce Dep't,
2010 U.S. Dist. LEX/S 139101 (S.D.N.Y., Dec. 30,

2010)

Cor_e Terms

 

arrest, malicious prosecution claim, amended complaint,
false arrest, marijuana, amend, malicious prosecution,
criminal possession, police officer, apartment, contends,
probable cause, convicted, charges, Weapon, lack of
probable cause, prosecuted, initiated, parole officer,
falsely, futile,.malice, undercover officer, motion to
amend, district court, post-arraignment, incidents,
asserts,.parole, rights v l

Counse|: [*1] Carlos Rodriguez, Plaintiff, Pro se,
Elmira, NY.

F.or NeW York City Police Department, NeW-York City
Police Commissioner, Defendants: Brian Jeremy Farrar,
LEAD ATTORNEY, NYC LaWDepartment1 NeW York,
NY; _Caroline Ling-Yu Chen, NeW .Yorl< City LaW
Department, NeW York, NY. "

For Erik Rodriguez, Cecilio Cintron, Patrick Bubb,
Defendants: Brian Jeremy Farrar, NYC LaW
Department, New York, NY.

For New York City District Attorney, Defendant: Eva
l\/larie Dowdell, New York County District Attorney's
Office, New York, NY. '

dudges: THEODORE H. KATZ, UN|TED STATES
MAG|STRATE JUDGE.

Opinion by: THEODORE H. KATZ

Opinion

 

MEMORANDUM OP|N|ON AND ORDER

THEODORE H. STATES

MAG|STRATE JUDGE.

KATZ, UN|TED -

Plaintiff Carlos Rodriguez brought this action, pursuant
to 42 U.S.C. § 1983, based on the circumstances
surrounding four separate arrest incidents.. He named
as Defendants the NeW York City Police Department
("NYPD"), NYPD'Commissioner Raymond Kelly, Police

` Officer Erik Rodriguez, Police Officer Cecilio Cintron,

Police Officer John/Jane Doe, Police Officer Patrick
Bubb, Police Officer Vincent Capitini, (collectively, the
»"NYPD Defendants"), and the New York County District
Attorney, Assistant District Attorney Albert Berry m,
Assistant District [*2]Attorney Rachel Bromberg, and
Assistant District Attorney Eve Teipel (collectively, the
"DA Defendants"). The action Was referred to this Court
for general pretrial supervision, pursuant to 28 U.S.C. §
636(b)(1)(A). '

The NYPD and DA Defendants each moved to dismiss
the Complaint, and on December 30, 2010, the District
Court dismissed all of Plaintiff's claims, With the
exception of th_e federal and state law claims for false

- arrest and an unlawful search that Plaintiff asserted

against Defendants Rodriguez, Cintron, and Bubb, (B
l\/lemorandum & Order, dated.Dec.` 30, 2011 ("Dec. 30
Order"), at 15.) Plaintiff later sought leave to file an
amended complaint, and he was instructed to file a`
Proposed Amended Complaint. (W Order, dated lVlar.
26, 2011 ("l\/lar. 26 Order"), at 2.)

Plaintiff subsequently moved to amend and filed a
Proposed Amended Complaint (W Plaintiff's Proposed
Amended Complaint, dated Apr. 24, 2011 ("Prop. Am.
Compl.")), in Which Plaintiff: (1) adds his arrest of June
18,`2009 as a basis for various claims; (2) seeks to add
as defendants in relation to his June 18, 2009 arrest,
Parole Officer Beverly Johnson, Police Officer O_scar

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-Diaz, Police Officer Ohmeed Davodian, Police
[*3] Officer Sergeant Paul Trapani, and Police Officer
Lieutenant Frankie Rivera; (3) seeks to add as plaintiffs
with respect to the June 18, 2009 arrest and search,
Lisbeth Franco, Doris Velez, and lVlichelle Seda; (4)
drops claims that are based on his arrest of October 3,
2006; (5) drops all references to state law claims and
refers exclusively to his rights under the United States
Constitution; an_d (6) omits as defendants the New York
City Police Department; New York -City Police
Commissioner Raymond Kelly; Officer Vincent Capitini;
and the New York'County District Attorney's Office.

Defendants who are presently in this action_ - Officers
' Bubb, Cintron, and Rodriguez - oppose Plaintiff's motion
to amend. (E Defendants' Opposition to Plaintiff's

l\/lotion'to Amend the Complaint, dated lVlay 12, 2011 '

("Defs.' Opp.").)

For reasons discussed below, Plaintiff's motion is
granted in part and denied in part.

BACKGROUND

Plaintiff claims that he was falsely arrested and
imprisoned, maliciously prosecuted, and that he

suffered unreasonable searches during the course of`

four arrest incidents.

On April 25, 2007, Plaintiff intervened in an altercation
between Hedney Bailon and Angela Cabrera, and
Defendant [*4]Officer Bubb arrested Plaintiff on a
charge of Assault in the 3rd Degree. (S_ee Prop. Am.
Compl. 1111 1_2-13.) Plaintiff contends that there was no
basis for his arrest and that the 'DA Defendants
continued to prosecute him for a period of two years.
(See id. 11 15.) The case was ultimately dismissed on
speedy trial grounds (See id. 11 16.)

On February 13, 2008, Plaintiff was arrested by several
of .the police officer Defendants and charged with
criminal sale of marijuana to an undercover officer; at
the time of the arrest, the officers recovered $338.00
from Plaintiff. (See id. 1111 20-21.) Defendant Cintron filed
a criminal complaint, which, according to' Plaintiff, falsely
accused Plaintiff of criminal sale of marijuana to an
informant, though in fact Defendant Officer Cintron was
merely relaying the facts as reported by the undercover
officer, (See id. 11 21; Ex. C.) Defendant Officer Cintron
reported the arrest to Plaintiff's parole officer, Defendant
Johnson, who filed a parole violation warrant. (See id.
1111 26-27.) Defendant ADA Berry prosecuted the offense
and, according to Plaintiff, falsely told the Court he was

 

 

ready for trial. (See'id. 11 25.) Plaintiff was incarcerated
from February [*5] 13, 2008 to June 9, 2008, and the
charges were dismissed on _November 13, 2008,
according to Plaintiff, for.lack of probable cause. (E
i_d_, 1111 29-30.)

On October 22, 2008, Plaintiff was arrested for criminal
trespass by Defendant Officer Rodriguez. (See id. 11 36.)
Plaintiff claims that he just happened to be on the street
as another suspect was eluding police pursuit (See id.
1111 32,-33.) Plaintiff contends that he was illegally
searched and arrested, without probable cause. (See id.
11 35.) The criminal trespass charge was dismissed on
December 7, 2009, according to Plaintiff, for lack of
probable cause (See id. 1111 35, 38.) Plaintiff contends
that he was maliciously prosecuted by ADA Bromberg.

Finally, on June 18, 2009, Plaintiff was at home with
proposed plaintiffs Franco, Velez, _and Seda, when
Defendant Parole Officer Johnson and Parole Officer

’Pitchardo came to inspect the premises (See id. 1111 39-

40.) According to Plaintiff Rodriguez, as Parole Officer
Johnson was inspecting his room, Franco left the
apartment.(See id. 11 42.) Shortly thereafter, according to
Plaintiff, Defendant Officers Davodian, Trapani, and
Rivera entered the apartment with additional detectives,
telling Velez [*6] and Seda not to move or make any
phone calls (See id. 1111 44, 47.) After brief questioning,
Plaintiff Rodriguez produced a bottle of steroids and
multiple syringes; the Defendant Officers then searched
the house further, and also discovered a large quantity
of marijuana, cash, drug paraphernalia a .45 automatic
hand gun, and two large knives (See id. 1111 49-51, 60-'
61.) Plaintiff Rodriguez and Franco were arrested during
the incident (see id. 1111 51, 53),.and Velez and Seda
were "told to find somewhere else to sleep." (See id. 11
55.) Defendant Officer Diaz escorted Rodriguez and
Franco to the 34th Precinct, where they were charged 7
with criminal possession of a weapon and criminal
possession of marijuana (See id. 11 56.) Plaintiff
contends that Officers Diaz and Davodian conspired
with Parole Officer Johnson ' to conceal Officers
Davodian, Trapani, and Rivera's illegal search of
Plaintiff's apartment (See id. 11 58.) ln January 2010, the
charges were dismissed against Franco for lack of
probable cause. (See id. 11 61.) Plaintiff Rodriguez,
however, pled guilty to a charge of Criminal Possession
of a Weapon in the 3rd Degree. (E Defs.' Opp., Ex. C)

 

 

 

 

DlSCUSS|ON

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l. Applicable Legal Standard

Rule 15(a) of the Federal Ru/es of Ci\/i/ Procec;furev
[*7] provides that motions to amend are to be freely
granted "when justice so requires," § Fed. R. C/'v. P.
15(a1(21, but it is within the.district court's sound
discretion to grant or deny leave to amend. W
McCa/fhy v. Dun & Bradsfreet Corp., 482 F.3d 184§ 200
(2d C/`r. 20071 (citing Foman \/. Da\/is, 371_U.S. 178,
182, 83 S. Ct. 227, 9 L. Ed. 2d 222 (1962)).
Amendments of the pleadings may be denied where
there has been undue delay or bad faith, where thev non-
moving party would suffer undue prejudice, or where the
pleading would be futile See Foman, 371 U.S.' at 182;

 

 

 

I-/o/mes v. Grubman, 568 F.3d 329, 334 (2d C/r. 2009)'

("General|y, a district court has discretion to deny leave
1to amend] for good reason, including futility, bad faith,
undue delay, or undue prejudice to the opposing party.")
(internal quotation marks and alterations omitted); Burch
v. P/'oneer Cred/'t Recoverv, lnc;, 551 F.3d 122, 126 (2d
Cir. 2008); Commander Oi/ Corp. v. Bar/o Equ/'p. Corp.,
215 F.3d 321, 333 (2d C/'r. 2000) ("The rule in this

 

Circuit has been to allow a party to amend its pleadings

inthe absence of a showing by the nonmovant of
prejudice or bad faith."). -

The futility analysis follows the same standard as for
Ru/e 12(£)1(61 [*8] motions to dismiss, see Doughenfy v.
Town of N. Hempstead Bd, of Zon/'nq Appea/s, 282 F.3d
83 88 (2d Cir. 20021, meaning that a plaintiff must plead
enough facts to "state a claim to relief that is plausible
on its face." Bel/ Atl. Corp, v. Twomb/y, 550 U.S. 544,
570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). The
Court "accepts as true all of the allegations contained in
a complaint," /-/arr/'s v. M///s, 572 F.3d 66, 72 (2d C/'r.
2009); see also Douohen_‘v. 282 F.3d at 87, but, as
noted, Plaintiff's factual allegations must raise a right to
relief above the speculative level. See Twomb/y1 550
U.S. at 555.

Defendants do not claim that they would be prejudiced
by the proposed amendments or that there has been
undue delay in asserting the proposed amendments
lnstead, they claim that allowing the amendments would
be futile (w Defs.' Opp. at 2-3.)

l|. The June 18, 2009 Arrest and the Additional
Parties

ln the Proposed_Amended Complaint, Plaintiff seeks to
assert claims based on a June 18, 2009 arrest, which
was not discussed at all in the original Complaint. Based

on this incident, he asserts a claim of false arrest with
respect to himself and, it appears, proposed plaintiff
Franco. He also asserts an unlawful [*9] search on his
own behalf and, apparently, on behalf of- all of the
proposed plaintiffs He also seeks to add five additional
defendants in relation to this incident.

Defendants argue that because Plaintiff was arrested

' and convicted of Criminal Possession of a Weapon in

the 3rd Degree after his arrest on June 18, 2009, he is
barred from asserting claims of false arrest,1 malicious
prosecution, or an unlawful search. (_S_Y Defs.' Opp. at
3.) Defendants further argue that if Plaintiff is barred
from asserting claims based on the June 18, 2009
arrest, there is no basis to join the additional plaintiffs
and defendants (See id. at 4.)

A. Plaintiff Rodriguez's C|aims Stemming from the -
June 18, 2009 Arrest

1.` False Arrest

To establish a claim of false arrest, Plaintiff must show
that NYPD Defendants [*10] "intentiona|ly confined him
without his consent and without justification." l/l/eyant v.
Oksf, 101 F.3d 845, 852 (2d Cir.'1996).`However, "the
existence of probable cause to arrest constitutes
justification and is a complete defense to an action for
false arrest, whether that action is brought under state
law or under § 1983." Je_nkins v. City of New York, 478
F.3d 761 84 (2d Cir. 20071(quoting Weyant, 101 F.3d at
_8_4§) (internal citations omitted). The NYPD Defendants
can show that probable cause to arrest existed if they
had "knowledge or reasonably trustworthy information of
facts and circumstances" that would lead a reasonable
person to believe that Plaintiff had committed or was in
the process of committing a crime See id. at 84-85

(quoting Weyant, 101 F,3d at 852).

 

By Plaintiff's own admission, the NYPD Defendants
recovered from Plaintiff's apartment, among other
things, steroids, multiple syringes and drug

 

1 Plaintiff also claims that he was falsely imprisoned in violation
of his constitutional rights (Ye Prop. Am. Compl. 11631, but this
claim is subsumed under the false arrest claim because, under
New York law, "[a] false imprisonment claim is identical to a
false arrest claim. " Ki/burn v. Vi//aqe of Saranac, 413 Fed.
App'x 362 363 (2d C/r 2011) (citing Posr v Dohertv. 944 F 2d
91 96 (2d C/'r 199111

 

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paraphernalia, a .45 automatic hand gun, which was
loaded, and a "large quantity" of marijuana. (_S_ee Prop.
Am. Compl. 11 51; see also Ex. L.) At the time,‘ Plaintiff
was on parole and subject to parole supervision. On the
facts of the Amended Complaint, therefore the NYPD
Defendants [*11] possessed knowledge that would lead
a reasonable person to conclude that Plaintiff had
committed a crime. See, e.q., N.Y. Penal Law §
265.02(11 (lVchinney 2008); N.Y. Penal Law § 221.25
(|Vchinney 2008).2 lt follows that Defendants had
probable cause to arrest Plaintiff,

 

l\/loreover, and as pointed out by Defendants under
Heck v, /-/umphrey, 512 U.S. 477, 114 S. Ct. 2364, 129
L. Ed. 2d 383 (19941, [*12] Plaintiff may not maintain a
§ 1983 claim for false arrest if "a judgment in favor of
the plaintiff would necessarily imply the invalidity of his
conviction or sentence." Heck 512 U.S. at 487; §
also, Skinner v. Switzer, U.S. , 131 S. Ct. 1289,
1298, 179 L. Ed. 2d 233 (2011). Here, Plaintiff was
convicted of Criminal Possession of a Weapon in the
3rd Degree. (§e_e Defs.' Opp., Ex. C.) Were Plaintiff to
obtain a judgment against Defendants for false arrest
based on the June 18, 2009 arrest, it would undeniably
cast doubt on the validity of his conviction.

 

 

For these reasons it would be futile for Plaintiff to
proceed with a false arrest claim based on the June 18,
2009 arrest.

2. Malicious Prosecution

The elements of a malicious prosecution claim brought
under § 1983 are generally based on state law. W
Cook v. She/don, 41 F.3d 73, 79 (2d Cir. 1994). For

 

2N.Y. Pena/ Law § 265.02(11 states that, "[a] person is guilty

of criminal possession of a weapon in the third degree when:
(1) Such person commits the crime of criminal possession of a
weapon in the fourth degree as defined in subdivision one,
two, three, or Hve of section 265.01, and has been previously
convicted of a crime Of particular relevance here is section
one of N.Y. Pena/ Law § 265.01, which defines criminal
possession of a weapon in the fourth degree as occurring
when a person "possesses any hrearm."

N.Y. Pena/ Law § 221.25 provides that, "[a] person is guilty of
criminal possession of marijuana in the second degree when

he knowingly and unlawfully possesses one or more
preparations compounds mixtures or substances containing
marijuana and the preparations compounds mixtures or
substances are of an aggregate weight of more than sixteen
ounces

malicious prosecution claims in New York, courts place
a "heavy burden" on plaintiffs in order to allow for
"benign misjudgments." Smith-Hunfer v. Han/ey, 95
/\/.Y.2d 191, 195, 734 N.E.2d 750, 712 /\/,Y.S.2d 438,
440 (20001. The state law elements of malicious
prosecution are "(1) that the defendant initiated a
prosecution against the plaintiff, (2) that the defendant
[*13] lacked probable cause to believe the proceeding
could succeed, (3) that the defendant acted with malice,
and (4) that the prosecution was terminated in the
plaintiff's favor." Rohman v. City of New York Trans/'t
Auth., 215 F.3d 208, 215 (2d-Cir. 2000). ln addition,
federal law requires that in § 1983 claims for malicious
prosecution, a plaintiff must show that there was "a
sufficient post-arraignment liberty restraint to implicate
the plaintiffs Fourth Amendment rights." g

 

 

 

As with the false arrest claim, a finding of probable
cause gives the NYPD Defendants a complete defense
to a malicious prosecution claim. See Hargroves v. City
of New York, 411 Fed. App'x 378, 386 (2d Cir. 2011)
(citing Manoanie/lo v. City of New York, 612 F.3d 149,
161 (2d Cir. 201011. Unlike the false arrest analysis
however, Defendants here must have had probable .
cause for each charge for which Plaintiff was
prosecuted ln New York, when "an accused [is]
arrested on multiple charges but convicted on only one
[he] may proceed with a claim for malicious prosecution
on the charge on which he was not convicted." Fu/ton \/.
Rob/'nson, 289 F.3d 188, 197 (2d Cir. »2002) (citing
Janetka v. Dabe, 892 F.2d 187, 190 (2d C/'r. 1989)).
[*14] Furthermore, the Supreme Court's w decision
does not necessarily bar Plaintiff from maintaining a
malicious prosecution claim that is based on charges for
which he was not convicted

 

 

ln the instant case, however, this is a distinction without
a difference While Plaintiff was never convicted of the
marijuana charge (W Defs.' Opp.l Ex. C), the NYPD
Defendants clearly had probable cause to proceed
against Plaintiff on both the weapon and marijuana
charges as they recovered a large quantity of marijuana
and a handgun from his apartment. Although Plaintiff
contends that Defendants conspired to falsely state that
Defendant Johnson, and not the NYPD Defendants
conducted the search which led to the recovery of this
contraband, that is irrelevant to whether there was
probable cause to prosecute Plaintiff, Based on what
was found in Plaintiff's apartment, there can be no
plausible claim that Defendants acted with malice in
prosecuting Plaintiff for possession of marijuana

Thus, it would be futile for Plaintiff to assert a malicious

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prosecution claim that is based on~his June 18, 2009
arrest.

3. illegal Search

Plaintiff contends that Parole Officer Johnson and/or_the
NYPD Defendants illegally .[*15] searched his
apartment without a warrant on June 18, 2009. The only
argument advanced by Defendants in opposing this
claim is that because Plaintiff was convicted of criminal
possession of a weapon, the claim is barred under M

v. Humphrey. (See Defs.' Opp. -at 3.) This argument is
misplaced '

The Supreme Court has rejected the argument that a
guilty plea or conviction has any bearing on the legality
of the underlying search. See Heck, 512 U.S. at 487 n.7.
("[A] suit for damages attributable to an allegedly
unreasonable search may lie even if the challenged
search produced evidence that was introduced in a
state criminal trial resulting in the § 1983 plaintiffs still-
outstanding conviction."); Harinq v. Prosise, 462 U.S.
306, 318. 103 S. Cf. 2368, 76 L. Ed. 2d 595 (1983); _S_§_e_
also Zarro v. Spitzer, 274 Fed. Appx. 31, 2008 W/_
1790431, at *2 (2d Cir. 2008); United States v. Greqq,
463 F.3d 160, 165 (2006) (holding that when a
defendant is convicted on the basis of a guilty plea, the
validity of the conviction is unaffected by subsequent
Foun‘h Amendment claims (citing To//ett v. Henderson
411 U.S. 258, 93 S. Ct.- 1602, 36 L. Ed. 2d 235 (1973))).

 

 

 

 

Accordingly, Plaintiff may amend the Complaint to
assert an unlawful search [*16] claim, arising out of the
2009 incident,‘against Defendants Johnson, Diaz,
Trapani, Davodian, and Rivera3 '

B. The Addition of Plaintiffs Franco, Velez, and Seda

lVlotions to amend a complaint to add new plaintiffs must
comply with Ru/e 20 of the Federal Rules of Civi/
Procedure, which provides that "[p]ersons may join . . .
if: (A) they assert any right to relief jointly, severally, or
in the alternative with respect to or arising out of the
same transaction_, occurrencel or series of transactions

or occurrences and (B) any question of law or fact

 

3Although Plaintiff may proceed on this claim, he faces
significant hurdles to overcome, as he was on parole and, as a
parolee his legitimate expectations of privacy in his apartment
are substantially reduced See Samson v. Ca//`forn/'a, 547 U.S.
843. 126 S. Ct. 2193, 165 L. Ed. 2d 250 (2006).

 

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common to all plaintiffs will arise in the action." Fed. R.
C/`i/. P. 20(a)(1); see also Abraham v.,l/o/kswaqen, 795

`F.2d 238, 251 (2d Cir. 1986); Kehr V. Yamaha Mofor

COrD., 596'F. SLIDD.Qd 821, 8264(S.D.N.Y. 2008).

lt is difficult to discern from the Amended Complaint
what claims are being asserted by each of the proposed
new Plaintiffs Construing the Amended Complaint `
liberally, [*1-7] however, the only plausible claim that is
shared with Plaintiff Rodriguez is Plaintiffs Velez and
Seda's potential Foun‘h Amendment claims arising from
the apartment search on June 18, 2009. Velez and
Seda, but not Franco, list 101 Post Avenue, Apartment
4A as their residence (E,Prop. Am. Compl. at 17.)
Velez and Seda's illegal search claims, therefore would
qualify for joinder under Ru/e 20 because these claims _
are clearly "logically related" to Plaintiff Rodriguez's
Fourth Amendment claim, and it is likely that common
issues of law or fact will arise.4

Defendants correctly note that the proposed Plaintiffs _
did not sign the Amended Complaint and have not
secured in forma pauperis status from the Court.
Plaintiff Rodriguez points out, however, that they did
sign a sworn verification of the Amended Complaint
and, given the opportunity, they will sign the Amended
Complaint that is filed and will file applications to

proceed in forma pauperis

Plaintiffs Rodriguez, Velez, _and Seda¢are hereby
directed to amend the [*18] Complaint in accordance
with the requirements of Rule 11(aj, namely, each
Plaintiff must sign the Complaint and state his or her
address email address and telephone number. §
Fed. R. Civ. P., 11(31. ln addition, if they intend to
proceed without paying Court filing fees and other costs
they must submit applications to the Court's Pro Se
Office seeking leave to proceed in forma pauperis

|||. Malicious Prosecution

The December 30, 2011 Order stated that Plaintist
federal and state law tort claims of false arrest and
property deprivation, which arose from incidents that
occurred on April 25, 2007, February 13`, 2008, and
October 22, 2008, remain as to Defendant Officers
Rodrig/uez,'Cintron, and Bubb. The District Court
dismissed Plaintiff's malicious prosecution claims

 

4 Because Rodriguez does not have a plausible false arrest or
malicious prosecution claim, there are no other common
issues of fact or law with the other proposed Plaintiffs

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against the NYPD Defendants on the grounds that
Plaintiff did not meet the Twombly and l_q@ standards
for the minimum threshold of plausibility in his pleading
(E Dec. 30 Order at 9.) Here, Plaintiff has omitted his
state law claims, referring only to his rights under the
United States Constitution, but he seeks to reassert his
claims of malicious prosecution, which were dismissed
by the December 30 Order.

Defendants [*19] mistakenly argue that, as a result of
the December 30 Order, Plaintiff is barred by §
judicata from re-asserting his claims of malicious
prosecution. w Defs.' Opp. at 2.) Defendants ignore
that fact that after the Court issued its December 30
Order, Plaintiff was granted leave to amend his
Complaint with additional facts and parties ln an Order
dated lVlarch 26, 2011, the District Court specifically
advised Plaintiff tol file a Proposed Amended Complaint,
with the warning that, "[i]f Plaintiff fails to file a Proposed
Amended Complaint by lVlay 9, 2011 then this matter

will proceed with only the remaining claims listed in the-

December 30, 2010 order." (lVlar. 26 Order at 2.)` The
December 30 Order, in other words, did not preclude
' the possible amendment of the failed malicious
prosecution claims The Court will therefore address the
viability of the amended malicious prosecution claims

To reiterate the state law elements of malicious
prosecution are "(1) that the defendant initiated a
prosecution against the plaintiff, (2) that the defendant
lacked probable cause to believe the proceeding could
succeed, (3) that the defendant acted with malice, and
(4) that the prosecution was terminated [*20] in the
plaintiffs favor." Rohman 215 F.3d at 215. ln addition,
in § 1983 claims for malicious prosecution, Plaintiff must
show that there was "a sufficient post-arraignment
liberty restraint to implicate the plaintiffs Fourth
Amendment rights." ld; see also Mandaniel/o v. City of
New York, 612 F.3d 149, 160-61 (2d Cir. 2010);
Cameron v. City of New York, 598 F.3d 50, 63 (2d Cir.

20101.

 

 

For the reasons stated `below, the Court finds that
Plaintiff has stated a plausible claim for the incidents
arising on February 13, 2008 and on October 22, 2008.
However, Plaintiff has not stated a plausible claim
arising from the April 25, 2007 incident, and he may not,
therefore, proceed on that claim.

A. April 25, 2007 incident
With respect to the April 25, 2007 incident, Plaintiff

merely contends that ADAs Bromberg and Teipel
commenced and continued prosecuting Plaintiff without
probable cause and "falsely informed the court that the '
People . . . were ready for trial . .' (Proposed Am.
Compl. 11 15.) The latter statement, even if false, has no
bearing on whether Plaintiff was maliciously prosecuted
The only change in Plaintiff's Proposed Amended
Complaint, from the original Complaint, is that_ [*21] he
asserts that the prosecution was without probable cause
and the case was dismissed in Plaintiff's favor. (See id.)
Plaintiff is therefore, merely reciting the elements of a
claim of malicious prosecution without making the claim
factually more plausible than it was in the original
Complaint.5 -

B. February 13, 200 8 incident

With respect to the February 13, 2008 arrest for criminal
sale of marijuana the Court is satisfied that Plaintiff has
alleged a claim [*22] that is plausible on its face
Plaintiff contends that he was approached by an
unknown undercover officer and asked where he could
find "Al." (See id. 11 18.) After Plaintiff directed the
unknown officer to the building complex in which Al

'resided, Plaintiff claims that he walked the other way

and, without further incident, was apprehended by
several officers (See id. 11 20.)

 

Plaintiff argues that a prosecution was initiated against
him by Defendant ADA Berry. (See id. 11 25.) According
to the criminal complaint filed against Plaintiff, it was
alleged that he was observed receiving two clear plastic
ziplock bags of marijuana, which he then handed to the
undercover officer. (See id., Ex. C.) Plaintiff claims,

'however, that Defendants lacked probable cause to

believe the prosecution for the underlying charge would
succeed, and that, in fact, Defendants created false
charges in order to secure Plaintiff's imprisonment for

 

5lt does not appear that Plaintiff is asserting a malicious
prosecution claim against Detective Bubb. lf he is the
Amended Complaint fails to add any additional facts that
suggest that Bubb acted maliciously and without probable
cause to arrest Plaintiff The misdemeanor complaint Hled by _
Bubb, charging Plaintiff with assault in the third degree, states
that he was advised by the victim that Plaintiff struck him
repeatedly, and that the victim suffered a ruptured ear drum, a
bruised and swollen eye, a broken orbita| bone and substantial
pain. Although Plaintiff contends that he was acting in self
defense, in light of the complainants injuries there can be no
plausible claim that Bubb acted maliciously in' arresting
Plaintiff.

l\/lichael McCartin

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parole violations (See id 11 26.) Plaintiff further
contends that the prosecution was terminated in his
favor for a lack of probable cause on November 13,
' 2008 (see id. 11 29), which, in addition to Plaintiff's other
claims, would allow for an inference of malice w
Mandaniel/o, 612 F.3d at 163 [*23] (noting that courts
may infer malice where there was no probable cause).
Finally, Plaintiff's liberty was restrained post-arraignment
in that he was detained from February 13, 2008 until
June 9, 2008. (Y Proposed Am. Compl. 11 30.)

 

The 'Court, therefore, concludes that Plaintiff has stated
`a claim for malicious prosecution arising from the
February 13, 2008 incident1 with one caveat. Though
Plaintiff`ciaims that Defendant Cintron falsely accused
Plaintiff regarding this incident, in fact, Defendant
Cintron was not present during the events in issue and
merely reported the accusations as they were reported
to him by Undercover Officer #14233. (See id., Ex. C.)
The Court, therefore, finds that Plaintiff has not asserted
a plausible claim of malicious prosecution against
Defendant Cintron. v

 

C. October 22l 2008 incident

The Court is similarly satisfied that Plaintiff has stated a
malicious prosecution claim arising from the October 22,
2008 incident. Plaintiff states that a prosecution was
initiated against him'for criminal trespass by Defendant
Rodriguez and Defendant Bromberg. (See id 1111 36¢37.)
Plaintiff argues that Defendants did not have probable
cause to believe the prosecution would [*24] succeed
in that Plaintiff was an invited guest and, further, that he
lived within the building complex. (See id. 11 34.) Further,
the charges were ultimately terminated in Plaintiffs favor
on December 7, 2009 (see id. 11 38), and because the
charge was dismissed for a lack of probable cause, a
fact-finder could infer malice See Mangan/'el/ol 612
F.3d at 163. Finally, while Plaintiff was released on his
own recognizance after his arraignment on October 23,
2008 (W Prop. Am. Compi., Ex. J), at this stage, the

 

 

 

Court is satisfied that Plaintiff alleges a sufficient post-»

arraignment liberty restraint because he was required to
return to court multiple times to answer for this charge
See Rohman, 215 F.3d at 215-16 (finding_that Plaintiff
sufficiently pled a post-arraignment restraint in that he

 

was required to return to court five times to answer the

charge). Plaintiff may, therefore, amend the Complaint
to assert a malicious prosecution claim arising from the
October 22, 2008 incident. _

|V. DA Defendants Bromberg, Teipel, and Berry

The District Court dismissed ali claims against DA
Defendants Bromberg, Teipel, and Berry in the
December 30 Order. (_S_e_e_ Dec. 30 Order at 12-14.)
Plaintiff has [*25] reasserted his claims against the DA
Defendants in his Proposed Amended Complaint, (see
Prop. Am. Compl. 11 6.), but Plaintiff provides no
additional arguments or facts that would undermine the
December 30 Order and subsequent dismissal of the
DA Defendants from this action.

in the December 30 Order, the malicious prosecution
claims against the DA Defendants were dismissed
because Plaintiff failed to plead any facts tending to
suggest that the DA Defendants wrongfully prosecuted
the charges against Plaintiff. (W Dec. 30 Order at 12.)
The Proposed Amended Complaint does not remedy
that defect.

in addition, the DA Defendants are entitled to absolute _
prosecutorial immunity with respect to the malicious
prosecution claims "it is . . . well established that 'a
state prosecuting attorney who acted within the scope of
his duties in initiating and pursuing a ` criminal
prosecution is immune from a civil suit for damages
under § 1983."‘ imbler v, Pachtman, 424 U.S. 409, 410,
431, 96 S. Ct. 984, 47 L. Ed. 2d 128 (1976). "[B]ecause
the initiation and pursuit of a criminal prosecution are
quintessential prosecutorial functions the prosecutor ~
has absolute immunity for the initiation and conduct of a
prosecution [*26] unless [he] proceeds in the clear
absence of ali jurisdiction'." Shmue//' v. City of New York,
424 4F.3d 231, 237 (2d Cir. 2005) (quoting Barr v.
Abrams, 810 F.2d 358 361 (2d Cir. 1987))(internal
quotations and citations omitted). ~

 

 

 

Here, the DA Defendants are not accused of acting
outside the bounds of the "quintessential prosecutorial
functions" of initiating and pursuing a criminal

prosecution, (W Prop. Am. Compl. 1111 15, 25, 29, 37.)

Because the DA Defendants enjoy absolute immunity
from Plaintiff's malicious prosecution claims, it would be
futile to allow him to proceed against them. Accordingly,
Plaintiff may not amend the Complaint to pursue claims
against the DA Defendants

CONCLUS|ON

For the reasons set forth above, Plaintiff's motion to
amend the Complaint is granted to the extent that he
seeks to 1) assert an illegal search claim based on the
June 18, 2009 incident against Defendants Johnson,

i\/iichael lVlcCartin

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Diaz, Davodian, Trapani, and Rivera; 2) add Plaintiffs
Velez and Seda with respect to the search claim; and 3)
assert malicious prosecution claims against the NYPD
Defendants based on the arrests of April 13, 2008 and
October 22, 2008. Plaintiffs federal claims of false
arrest and property [*27] deprivation from the April 25,

2007, February 13, 2008, and October 22, 2008 '

incidents still remain as against Defendants Bubb and
Rodriguez. '

~k~k~k

The remaining Plaintiffs shall promptly file the Amended
Complaint with ali required signatures and information,
and must effect service of the Amended Complaint on
any newly added Defendants by December 24, 2011.

Defendants' counsel shall advise the -Court and Plaintiffs
of whether they will accept service on behalf of the Jane
Doe-Defendant, Shield #14233.

SO ORDERED.

/s/ Theodore H. Katz l

THEODORE H. KATZ

UN|TED STATES MAG|STRATE JUDGE
Dated: October 24, 2011

New York, New York

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0 Neutral

As Of: lV|ay 1, 2018 2150 PlV| Z

Kayin EI v. United States

United States District Court for the Southern District of illinois
January 31, 2018, Decided; February1,2018, Filed
Case No. 17-cv-1398-Sl\/|Y

Reporter - ~
2018 U.S. Dist. LEX|S 16670 *; 2018 WL 659194

JELAN| AGYYE| KAi\/lAU KAY|N EL, #10954-025, also
known as GlLARD| C. BURNS, Plaintiff, vs. USA1
lVllCHAEL J. REAGAN, JiiVliVlY WH'|TE, iVlONROE
COUNTY SHERiFF DEPART|V|ENT, ST. CLAlR
COUNTY SHERiFF DEPART|V|ENT, CL|NTON
COUNTY lL, WiLLlAi\/i D. ST|EHL, JR. PHiLlP
KAVANAUGH, DAViD BRENGLE, ETHAN SKAGGS,
GEORGE HOWARD, BARBARA, TASHA ANN DEN|SE
JOHNSON, FAlRViEW HE|GHTS POL|CE
DEPARTi\/iENT, PROSECUTORS OFF|CE,
PROBATlON, FEDERAL DEFENDER OFF|CE, FC|
ASHLAND, UNKNOWN PARTY Prosecutors on Case,
and DON BERRY, Defendants.

Prior History: Burns \/. United States 2017 U.S. Dist.
LEX/S 15641 (S.D. ///., Feb. 3, 2017)

Core Terms

 

frivolous criminal case, sentence, arrest, sovereign,
allegations immunity, police department, damages
dismissal with prejudice, constitutional right, indictment,
absolute immunity, imprisonment, Probation, deprived,
invalid, shotgun, entity, criminal conviction, supervised
reiease, federal official, custody, firearm, rights

Counsel: [*1] Jelani Agyei Kamau Kayin El, also
known as Giiardi C Burns, Plaintiff, Pro se, Waterioo, iL.

Judges: STACi lVl. YANDLE, United States District
Judge.

opinion by: sTAci ivi'. YANDLE

Opinion

 

MEMORANDUM AND ORDER

YANDLE, District Judge: '

INTRODUCTION

Plaintiff Jelani Agyei Kamau Kayin Ei (a/k/a Gilardi C.
Burns) is an inmate at iVionroe County Jaii ("Jaii")
located in Waterioo, illinois He filed this action pursuant
to Bii/ens v. Six Unknown Named Aqents of Federal
Narcotics Aoents, 403 U.S. 388, 91 S. Ct. 1999, 29 L.
Ed. 2d 619 (19711 and 42 U.S.C. § 1983, alleging that
his civil rights were violated by federal and state officials
in connection with his underlying criminal conviction for
being a felon in possession of a firearm. Plaintiff brings
this action against Chief Judge iViichael J. Reagan (the
presiding judge in his underlying criminal case), a court
reporter, a police department, two sheriff's departments
defense attorneys prosecutors probation officials
United States l\/larshais, his former girlfriend, and
various federal agencies

in connection with his claims, Plaintiff seeks
compensatory and punitive damages He also requests
that this Court release him from custody, pay for
psychiatric counseling, expunge and/or seal his record,
put him on the "do not detain iist" and enter an order

_ recognizing his i\/ioorish American nationality, that he is

not a [*2] Foun‘eenth Amendment citizen and that he is
an indigenous /-\llodial American National. '

This case is now before the Court for a preliminary
review of the Complaint pursuant to 28 U.S.C. § 1915A,
which provides:

(a) Screening _ The court shall review, before
docketing, if feasible or, in any event, as soon as
practicable after docketing, a complaint in a civil
action in which a prisoner seeks redress from a
governmental entity or officer or employee of a
governmental entity.

(b) Grounds for Dismissal _ On review, the court
shall identify cognizable claims or dismiss the

l\/iichael lVlcCartin

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complaint, or any portion of the complaint, if the
complaint- '

` (1) is frivolous malicious or fails to state a
claim on which relief may be granted; or

(2) seeks monetary relief from a defendant who
is immune from such relief.

An action or claim is frivolous if "it lacks an arguable
basis either in law or in fact." /\/ei'tzke v. l/l/illiams 490
U.S. '319, 325, 109 S. Ct. 1827, 104 L. Ed. 2d 338
(19891. Frivoiousness is an objective standard that
refers to a claim that any reasonable person would find
meritless Lee v. Cliriton, 209 F.3d 1025, 1026-27 (7th
Cir. 20001. An action fails to state a claim upon which
relief can be granted if it does not plead "enough facts to
state a claim to relief that is plausible on its face." B_e//
At/ar)t/'c Corp. v. Twombli/, 550 U.S. 544, 570, 127 S. Cf.
1955, 167 l_. Ed. 2d 929 (2007). The claim of
entitlement to relief ' must cross "the line between
possibility [*3] and plausibility." ld. at 557. At this
juncture, the factual allegations of the pro`se complaint
are to'be liberally construed See Rodriguez v. P/ymouth
Ambu/ance Serv., 577 F.3d 816, 821 (7fh Cir. 2009).
Plaintiff's Complaint does not survive preliminary review
under this standard.'

 

 

BACKGROUND

Under|ying Criminal Case

On October 23, 2013, Plaintiff was indicted for violating
18 U.S.C. §922(g)(1), often referred to as a felon in
possession charge, for possessing two shotguns while
having previously ‘been convicted of an offense
punishable by a term of imprisonment exceeding one
year. See United States v. Burns, No. 13-30233-i\/iJR
("Criminai Case"), Doc. 1. Chief Judge lViichael J.
Reagan was the presiding judge in Plaintiff's Criminal
Case . '

The indictment arose from a domestic dispute at
LPiaintiff's residence lVlore specificaiiy, on June` 17,
2013, officers with the Fairview Heights Police
Department responded to a 911 call at Plaintiff's
residence where they spoke to a woman who identified
herself as Plaintifst girlfriend See Burns v. United
States No. 15-cv-608 ("Habeas Case"), Doc. 28. The
woman indicated that Plaintiff had threatened her with a
shotgun. /d. When officers spoke to Plaintiff, he told
them that he did not have any weapons inside the

home, and signed a form consenting to a [*4] search of
his home

The consent search turned up a Bene|li 12 gauge
shotgun and a Remington 870 Express shotgun. ld.
Plaintiff was transported to the police station. /d. While
at the police station, after waiving his Miranda rights
Plaintiff gave a recorded statement in which he told a `
detective that he applied for a Firearm Owner's'
identification card but was denied because he had a
prior felony conviction. ld. During the interview, Plaintiff
admitted that the shotguns were his that he hid the
shotguns in the basement while-he was on the phone
with 911 operators and that he voluntarily signed the
consent form to allow the police officers to search his
home. ld.

‘On November 12, 2013,,Piaintiff was released on

pretrial bond. (Criminal Case, Doc. 12). On more than
one occasion while he was on bond, Plaintiff tested
positive for cocaine or crack cocaine (Habeas Case,
Doc. 28; Criminal Case, Doc. 54, Ex. 1-4). As a resuit,
he was entered into a 30-day residential substance
abuse treatment program. (Habeas Case, Doc. 28).

At the conclusion of his treatment, Plaintiff recanted
prior admissions regarding his cocaine use and made
additional allegations pertaining to selling cocaine in
order [*5] to raise funds for his legal defense (Criminal
Case, Doc. 24). Thereafter, the United States filed a
motion-to revoke Plaintiff's bond /d. A warrant for
Plaintiff's arrest was issued on Juiy 1, 2014 and, after a
hearing on August 19, 2014, Plaintiff's bond was
revoked (Criminal Case, Docs. 42 and 43).

On October 31, 2014, Plaintiff pleaded guilty pursuant to
a written stipulation of facts and agreement to plead
guilty. (Criminal Case, Docs. 47, 48 and 49). Plaintiff
was sentenced to eighteen months of imprisonment with
two years of supervised release to follow on iVlarch 5,
2015 (Criminal Case, Doc. 70). .

Habeas Petition

Plaintiff did not file a direct appeal. (Habeas Case,- Doc.
28). instead, on June 2, 2015, Plaintiff filed a Petition to
vacate, set aside or correct his sentence pursuant _to 28
U.S.C. § 2255. (Habeas Case, Doc. 1). in his Petition,
Plaintiff argued that (1) he received ineffective
assistance of counsei; (2) he was deprived of due
process because his predicate offense was not afelony;
(3) the mental health treatment condition of his
supervision was unlawfui; and (4) he did not receive

~ iViichaei lVlcCartin

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credit from the Bureau of Prisons for 30 days of
inpatient drug treatment he was ordered to obtain
while [*6] on pretrial release (Habeas Case, Docs. 1
and 28).

Plaintiff's Habeas Petition was ultimately denied on
February 3, 2017. (Habeas Case, Doc. 28).

Supervised Reiease

On October 23, 2015, while the Habeas Petition was
pending, Plaintiff was released from custody and
commenced _his two-year term of supervised release
(Criminal Case, Doc. 79). ln December 2015, the United
States filed a Petition for Revocation of Supervised
Release. (Criminal Case, Doc. 79). On January 26,
2017, Plaintiff's supervised release was revoked and

Plaintiff was sentenced to 9 months' imprisonment

(criminai case, Doc. 127).1

ln accordance with this sentence and a notice from the
United States l\/larshals Service, Plaintiff was required to
self-surrender by i\/iarch 7, 2017. (Criminal Case, Doc.
129). He did not comply and an arrest warrant was
issued (Criminal Case, Docs. 129 and 130). Thereafter,
Plaintiff was remanded to the custody of the United
States l\/larshai for transfer to the Bureau of Prisons to
complete his sentence (Criminal Case, Doc. 140).

Pending Criminal Case - Fai|ure to Surrender

On June 21, 2017, Plaintiff was indicted for failing to

vsurrender. United States v..Burns No. 17-cr-30110-
l\/iJR, Doc. 1. A jury [*7] trial in connection with the
indictment is presently set for i\/iarch 2018. United
States v. Burns, No. 17-cr-30110, Doc. 27.

THE COMPLA|NT

The Complaint consists of a list of constitutional
deprivations that allegedly occurred in connection with
Plaintiffs underlying criminal conviction, sentence and
detention. Plaintiff generally challenges the jurisdiction
of the United States to indict, sentence or imprison him,
based on his alleged status as a iVioorish
American/Aiiodiai American National. (Doc. 1, pp. 1, 5-
6). Plaintiff also asserts that the`predicate offense in his

 

1Sentencing was deferred several times due to issues of
counsel representation and Plaintiff's competency

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underlying criminal conviction is not a cognizable crime
because the government has no authority and/or
jurisdiction to restrict his Second Amendment right to
bear arms (Doc. 1, p. 5). He contends that therefore,
his conviction and sentence are iiiegai. (Doc.'1, pp. 4-5).
Plaintiff seeks to hold "aii parties of [his]' court

' proceedings" and his "detainers" liable as "accessories

to illegal detention." (Doc. 1, p. 4).

Additionally, Plaintiff alleges that the Fairview Heights
Police Department wrongfully arrested him on June 17,
2013. (Doc. 1,' p. 5).`Specificaiiy, he contends that the
arrest was unlawful because (1) the United States
lacks [*8] jurisdiction over him and/or (2) the United
States cannot criminalize firearm possession Plaintiff
also claims that the Fairview Heights Police Department
violated his rights on June 17, 2013 because they
conducted a search of his home before he consented to
that search. /d. ' ’

DiscussioN2

Overview _ Section 1983 and Bivens

Section 1983 of United States Code Title 42 provides a
private right of action for damages to individuals who
are deprived of "any rights privileges or immunities"
protected by the Constitution or federal law by any
person acting under the color of state law. To state a
claim § 1983, a plaintiff must establish that (1) he had a

4 constitutionallyprotected right, (2) he was deprived of

that right in violation of the Constitution, (3) the

 

'ZThis matter involves a complaint against Chief Judge

Reagan, a judicial colleague'in the Southern District of illinois
After consulting the Code of Conduct for United States
Judges the undersigned has determined that recusal is not
necessary. See 2B Guide to Judiciary Policy, Ch.2, Advisory
Opinion No. 103, available at
http://www.uscourts.gov/sites/default/Hles/volOZb-ch02.pdf ("in
typical harassing litigation, a claim against a judge is barred'by
the doctrine ofjudicia| immunity, and the complaint is subject
to prompt dismissal on judicial immunity or other grounds
Review of a complaint against a judicial colleague where the
litigation is patently frivolous or judicial immunity'is plainly
applicable will not ordinarily give rise to a reasonable basis to
question the assigned judge's im_partiality, and disqualification
would rarely be appropriate Thus, the mere naming of a
judicial colleague as a defendant does not require automatic
recusal of every judge in the district or on the court under
Canon 3C(1).").

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defendant intentionally caused that deprivation and (4)
the defendant acted under color of state law. Cruz v.
Safford, 579 F.3d 840, 843 (7th Cir. 2009); Sche/tz v.
Waupaca County, 875 F.2d 578, 581 (7th C/'r_ 1989).

 

in Biveris v. Six Urikn`_own Named /-ldents of Federa/
Bureau of Narcotics, 403 U.S. 388, 91 S. Ct. 1999, 29 L.
Ed. 2d 619 (19711, the Supreme .Court recognized an
implied private cause of action for damages against
federal officers alleged to have violated a' citizen's
constitutional rights. See also Correct/'ona/ Services
Corp. v. Ma/esko, 534 U.S. 61, 66, 122 S. Ct. 515, 151
L4 Ed. 2d 456 (20011 (discussing Bivens). Thus Bivens
affords a remedy against federal officials that is
analogous to a claim against state actors under § 1983.
See Harfmari v. Moore, 547 U.S. 250, 254 n. 2, 126 S.
Ct. 1695, 164 L. Ed. 2d 441 (2006). Even assuming that
ali of Plaintiff's allegations [*9] are true, as this Court is
required to do, he cannot proceed with a claim under §
1983 or Bii/ens for numerous reasons which are
separately discussed below.

 

 

Sovereign Citizen Argument

Plaintiff describes himself as a lVloorish American and

an indigenous Aliodiai American National. (Doc. 1, p. 6).
The Complaint-suggests that, because of his status as a
i\/loorish American/Aliodiai American National, the
United States lacked jurisdiction to indict,_sentence and
imprison him. ’

Plaintiff's argument is part of a growing trend, commonly
referred to as the "sovereign citizen" movement.3 it is
premised on faulty reasoning that hasconsistentiy been
deemed frivolous "Defendants claiming to be 'sovereign
citizens' assert that the federal government is
illegitimate and insist that they are not subject to its
jurisdiction." United States v. Jonassen, 759 F.3d 653,

 

657 n. 2 (7fh Cir. 2014). The- argument has "no.

conceivable validity in American iaw." United States v.
'Schneider, 910 F.2d 1569, 1570 (7th‘Cir. 1990). The
laws of the United States apply to all persons within its

 

3For more information about "sovereign citizen" arguments
see J.iVl. Berger, Without P`reiudice: What Sovereign
Citizens[*10] Believe, GW: Proqram on Extremism (2016),
available ' at:
https://cchs.gwu.edu/sites/cchs.gwu.edu/files/downloads/Occa
sionalP'aper_Berger.pdf . lSee also E/ v. Amer/'Credi't Financ/a/
Servi'ces, /nc. 710 F.3d 748, 750 (7fh Cir. 2013) (describing
the beliefs of so-called sovereign citizens of alleged i\/loorish
origin).

borders See United States v. .Ph/'//ips, 326 Fedi App'x
400 (7th Cir. 2009) (rejecting "sovereign citizen"

argument as frivolous and noting that "a district court

has personal jurisdiction over any defendant brought
before it on a federal indictment charging a violation of
federal iaw“).

To the extent that Plaintiff alleges his constitutional
rights were violated because he is a sovereign citizen
and seeks monetary relief for those alleged violations

the claims are dismissed with prejudice as legally
frivolous 1 .

v Ciaims Against improper Defendants

A majority of the defendants are not amenable to suit in
a § 1983 or Bivens action and/or are entitled to certain
immunities As such, the claims directed against these
defendants must be dismissed as legally frivolous

1. Tasha Ann Denise Johnson

This individuai, Plaintiff's former girlfriend, is not a state

or federal actor.v Therefore, she is not an appropriate
defendant and all claims against her will be dismissed
with prejudice as legally frivolous.'See West v. Afkins
487 U.S. 42, 49, 108 S. Ct. 2250, 101 L. Ed. 2d 40
(19881(To state a claim pursuant to 42 U.S.C. § 1983, a
plaintiff must show the deprivation of a constitutional
right by a person acting.under color of state iaw); Glaus
v. Anderson, 408 F.3d 382, 389 (71‘/1 Cir. 2005) (Bivens
claims must be directed against federal officials or
agents).

 

 

 

2. United States

The United States is not a proper defendant in a Bivens
action. Kaba v. Stepp, 458 F.3d 678, 687 (7i‘h Cir. 2006)
(holding that "[a] Bivens action may not be brought
against the United States or a federal agency"). "[T]he
point of Bivens [i]s to establish [*11] an action against
the employee to avoid the sovereign immunity that

would block an action against the United States." See '
Ster//'r)d v. United States 85 F.3d 1225, 1228-29 (7th
Cir. 1996); F.D.l.C. v. Meyer, 510 U.S. 471, 484-86, 114
S. Ct. 996, 127 L. Ed. 2d 308 (1994); Okoro v.
Ca/laqhan, 324 F.3d 488, 490 (7th Cir. 2003). l\/loreover,
Plaintiff makes no allegations of wrongdoing alleged
against the United States "Where a complaint alleges
no specific act or conduct on the part of _the defendant

 

 

 

 

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and the complaint is silent as to the defendant except
for his name appearing in the caption, the complaint is
properly dismissed"» Potfer v. C/ark, 497 F.2d 1206,
1207 (7th Cir. 19741. Accordingly, Plaintiff's claims
against the United States must be dismissed as legally
frivolous 1

 

3. Defense Attorneys

Defense attorneys,.even those appointed by the court,
are-not considered state actors or federal officials for
purposes of a claim under § 1983_or Bivens. See PL/k
County v. Dodsori, 454 UiS. 312,v 325, 102 S. Cf. 445,
70 L. Ed. 2d 509 (19811 (holding that "a public defender
does not act under color of state law [for purposes of
liability under '§ 1983] when performing _a iawyer's
traditional functions as counsel to a defendant in a
criminal proceeding");-see also l-/a/ej; i/. l/l/a/ker! 751
F.2d 284, 285 (Bth Cir.1984) ("By analogy [to _P_ol<
. County v. Dodson, 454 U.S. 312, 102 S. Ct. 445, 70 L.
Ed. 2d 509 (19811 ], an attorney appointed by a federal
court is not a'federai officer for purposes of»a Bivens-
type action.`_'); Cox v. He//ersteiri, 685 F.2d 1098, 1099
19th Cir.19821- (a federal public defender may not be
sued for malpractice in a Bivens-type suit). Accordingly,
Plaintiff's[*12] claims against his defense attorneys
(Stiehl, Jr., Kavanaugh, Brengie and _Skaggs) will be
dismissed as legally frivolous

 

 

 

4. Prosecutors

To the extent that Plaintiff intended to bring claims
against the individual prosecutors in his underlying
criminal case for the initiation of the prosecution and
subsequent court proceedings those claims are also
subject to dismissal as legally frivolous imbler v.
Pachfman, 424 U.S. 409, 430-31, 96 S. Ct. 984, 47 L.
Ed. 2d 128 (19761 (prosecutor has absolute immunity
for activities that are "intimateiy associated with the
judicial phase of the criminal process"). See also
Buck/ey v. Fifzsi`mmons, 20 F.3d 789, 795 (7th Cir.
19941 (prosecutors absolutely immune for actions as
advocates even if they "present unreliable or wholly
fictitious proofs"); /-/enry v. Farmer City State Bank 808
F.2d 1228, 1238 (7th Cir. 1986) (absolute immunity
shields prosecutor "even if he initiates charges
maliciouslyl unreasonably, without probable cause, or
even on the basis of false testimony or evidence").

 

 

 

5. Prosecutors Office, Probation, Public Defenders

Office, and FCI

The Prosecutors Office, Public Defenders Office,
Probation, and FC| Ashiand are federal agencies Thus
they are not amenable to suit in a Bivens action. See
FD/C i/. Mei/er, 510 U.S. 471, 483-486, 114 S. Ct. 996, '
127 L. Ed. 2d 308 (1994) (federai agencies are not
subject to suit for damages under Bivens). Rather, a
Bivens action provides for a remedy against [*13]
federal agents acting in their individual capacities /d.
See also Glaus v. Aridersori, 408 F.3d 382, 389 (7th
Cir.20051 ("fe_derai prisoners suing under Bivens may
sue relevant officials in their individual capacity only"). 5
Any claims directed against these entities are subject to
dismissal as legally frivolous

 

6. Chief Judge Reagan

Plaintiff sues Chief Judge Reagan, the district court
judge that presided over his underlying criminal case,
for solely judicial acts The»doctrine ofjudiciai immunity _

g establishes the absolute immunity of judges from

damages for all actions taken as part of theirjudiciai (as
opposed to executive or administrative) functions even
when'they act maliciously or corruptly. See M/'re/es v.
Waco, 502 U.S. 9, 112 S. Cf.~286, 116 L. Ed. 2d 9
(19911. This immunity is not for the protection or benefit
of a malicious or corrupt judge, but for the benefit of the
public which has an interest in a judiciary free to
exercise its function without fear of harassment by
unsatisfied litigants Pierson v. Ray, 386 U.S. 547, 554,
87 S. Ct. 1213, 18 L. Ed. 2d 288 (1967).

 

Chief Judge Reagan is entitled to absolute immunity for
his judiciai'acts. Thus, ali claims directed against him
are subject to dismissal as legally frivolous

“improper Ciaims against Police and Sheriff

Departments

Plaintiff has named the Fairview Heights Police
Department, the l\/ionroe County Sheriff[*14]
Department and the St. Clair County Sheriff Department
as defendants The Fairview Heights Police Department
is a municipal department of the City of Fairview
Heights and is therefore not subject to suit; the reai.
party in interest is the City of Fairview Heights
Accordingly, all claims against the Fairview Heights
Police Department are dismissed with prejudice See
Best v. City of Portland, 554 F. 3d 698. 698 n.* (7th Cir.
2009); l/l/est By and Throuqh Norris v. Waymire, 114

 

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F.3d 646, 646-47 (7th Cir. 1997); Karney i/. City of
/\Iapen//'/le, 2015 U.S. Dist. LEX/S 143407, 2015 l/l/L
6407759, at *1 (N.D. ///. Oct. 22, 2015) (Naperviiie
Police Department is not_a suable 'entity). The same
principle applies to Defendants |Vionroe County Sheriff
Department and the St. Ciair County Sheriff
Department See Whitinq vi Marathon County Sheriff's
Dep't, 382 F.3d 700, 704 (7th Cir.2004-) (sheriff's
department is not a legal entity separable from the
county government which it serves and therefore not
subject to suit); see'a/so Buchanan v. City of Keriosha,
57 F.Supp.2d 675, 678 (E.D.l/l//s.1999) (citing cases)

 

 

Although not named as defendants the City of Fairview
Heights St. Ciair County, and lVlonroe County may be
. sued if the alleged constitutional violation was caused
by an unconstitutional policy or custom of the city or
county. See Monel/ i/. Dep't of Soc.y Servs., 436'U.S.
658, 691, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978).
individual officers working for these_departments are
also potentially viable defendants However, in the
instant case amendment would be futile As is
discussed elsewhere in this Order, even if Plaintiff were

 

 

to name proper defendants [*15] his claims would faii. ~

because they are either (1) premised on the legally
frivolous sovereign citizen argument (see § |V.B., supra)
or (2) subject to the bar announced in Heck v.
Humphrey, 512 U.S. 477, 486-87, 114 S. Ct. 2364, 129

L. Ed. 2d 383 (19941 (see § lV.F.1 infra).

 

Fai|ure to Aiiege Persona| involvement

Plaintiff has sued five defendants who are amenable to
’ suit in a § 1983 or Bivens action: (1) "Barbara," Chief
Judge Reagan's Court Reporter;4 (2) Don Berry, United
States i\_/iarshal; (3) George Howard, Probation Officer;

(4) Jimmy White United States |Vlarshai; and (5) Ciinton _

County, illinois However, -he does not allege that any of
these defendants were personally involved in a violation
of his constitutional rights

Plaintiffs are required to associate specific defendants
with specific claims to put defendants on notice of the
claims brought against them and to enable the
defendants to properly _answer~the complaint. See
Twomb/y, 550 U.S. at 555; Fed. R Civ. Pi 8(a)(2).
Where a plaintiff has not included a defendant in his

 

4Unlike judges court reporters are not entitled to absolute
immunity. Loubser v. Thacker. 440 F.3d 439, 442 (7th Cir.

20061.

statement of the claim, the defendant cannot be said to
be adequately put on notice of which claims in the
complaint, if any, are directed against him. iVlereiy
invoking.the name of 'a potential defendant is not
sufficient to state a claim against that individual See
Col/i`ris v. Kiborf, 143 F.3d 331, 334 (7th C/'r. 1998).
Plaintiff must instead allege that [*16] each defendant
was personally involved in a violation of his
constitutional rights Plaintiff has not done this

Accordingly, the claims against.these defendants are '
subject to dismissal for failure to state a claim upon
which relief can be granted Normaliy, such a dismissal
would include an opportunity to file an amended
complaint alleging personal involvement However, for
reasons previousiy’discu`ssed, amendment would be
futile '

Heck v. Humphrey

Even if Plaintiff's claims survived the various immunities
discussed above properly alleged that the defendants
were all state or federal actors and otherwise made
sufficient allegations against suable defendants if
successfui, they would necessarily imply the invalidity of
his criminal conviction and sentence As such, Plaintiff's
claims are barred by Heck i/. Humphrey, 512 U.S. 477,

'486-87, 114 S. Ct. 2364, 129 L. Ed. 2d 383 (1994).5 |n

 

Heck, the United States Supreme Court held that:

[i]n order to recover damages for allegedly
unconstitutional conviction or imprisonment, or for
other harm caused by actions whose unlawfulness
would render a conviction or sentence invalid, a §
1983 plaintiff must prove that the conviction or
sentence has been reversed on direct appeai,
expunged by executive order, declared invalid by a
state [*17] tribunal authorized to make such
determination, or called into question by a federal
court`s issuance of a writ of habeas corpus 28
U.S.C. § 2254. A claim for damages bearing the
relationship to a conviction or sentence that has not
been so invalidated is not cognizable under § 1983

 

ld. 31486-87, 114 S. Cf. 312372.

Here, Plaintiff alleges that his constitutional rights were

 

5The Heck doctrine applies with equal force to Bivens actions
Case v. Mi'/ewsk/', 327 F.3d 564, 568-69 (7th Cir, 2003);
Clemente v. A//en 120 F.3d 703; 705 (7th Cir. 1997) (per
curiam) (collecting cases).

 

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violated during the course of his criminal prosecution in
the Southern District of illinois He argues that his felon
in possession conviction violates his Secorid
Amendment right to bear arms and is otherwise
unconstitutionai, and that therefore any individual or
entity connected to his prosecution, sentence and/or
detention `is subject to liability for violating his
constitutional rights A finding in Plaintiff's favor on these
claims would amount to finding that the statute under
which Plaintiff was convicted is invalid or
unconstitutional and would necessarily impugn the
validity of his conviction and sentence which still stand
Therefore, Plaintiff's claims are de_cL<-barred.

Plaintiff also alleges that the Fairview Heights Police
Department violated his rights during the search and
seizure that led to his arrest. Generally, Heck does not
bar a false arrest claim. See [*18] l/l/a//ace v. Kato 549
U.S. 384, 395, 127 S. Ct. 1091, 166 L. Ed. 2d 973
(2007); Domiriquez v. Hend/ey, 545 F.3d 585, 589 (7th
Cir.20081 ("Even if no conviction could have been
obtained in the absence of the violation, the Supreme
Court has held that, unlike fair trial claims Foun‘h
Amendment claims as a group do not necessarily imply
the invalidity of a criminal conviction, and so such claims
are not suspended under the Heck bar to suit."), cert
denied, 556 U.S. 1235, 129 S. Ct. 2381, 173 L. Ed. 2d
1293 (2009); G/'/bert v. Cook, 512 F.3d 899, 901 (7th
Cir. 20081 ("... Heck does not affect litigation about
police conduct in the investigation of a crime").
However, a plaintiff can plead himself into a M-bar by
pleading allegations in support of his claim that are
inconsistent with his conviction. See Gi/berf i/. Cook

 

 

 

512 F.3d 899, 902 (7i‘h Cir. 2008). Plaintiff has done so

here.

The Complaint suggests that Plaintiff's arrest was
wrongful because the United States has no authority to
criminalize possession of a firearm and/or because
being a felon in possession of a firearm is otherwise not
a crime Once again, Plaintiff's argument challenges the
validity of the statute under which he was sentenced
and convicted, and is M-barred

Plaintiff also challenges the search and seizure that led
to his arrest on the ground that it occurred without his
consent. Specificaiiy, Plaintiff claims that officers

searched his home before he consented This claim~

directly-contradicts stipulated facts [*19] from Plaintiff's
criminal plea See Criminal Case, Doc. 49 paragraphs
4-5. Thus, Plaintiff has interwoven a challenge to his
guilty plea with a challenge to the lawfulness of the
subject search. Thus this claim is also H_ecL<-barred.

See Easter//'nq v. Moe//er, 334 Fed. Appx. 22, 24 (7th
Cir. 2009); Okoro v. Ca/laqhan, 324 F.3d 488 (2003).6

Request for injunctive and Deciaratory Reiief

Plaintiff's request for injunctive relief warrants little
additional discussion. Plaintiff asks the Court to release
him from custody, expunge or seal his record and put
him on the "do not detain" iist. The Court has no
authority to order this reiief. l\/lonetary relief is available
in § 1983 and Bivens actions but release from custody
is not. Section 2255 is the "exclusive remedy" to
challenge a federal conviction, unless that remedy is
"inadequate or ineffective to test the legality of [the]
detention." 28 U.S.C. § 2255(e); Co//ins v. Ho/inka 510
F.3d 666, 667, 258 Fed. ADDX. 886 (7th Cir. 2007). if §
2255 proves to be inadequate or ineffective Plaintiff
may be able to pursue federal habeas relief under 28
U.S.C. § 2241. Further, this Court cannot convert any
portion of this action to a claim for habeas corpus relief
Moore v. Pemberfon, 110 F.3d 22 (7th Cir. 1997);
Copus v. City of Edqerton, 96 F.3d 1038 (7th Cir. 1996).

 

 

The Court also denies Plaintiff's request for declarative
relief. Plaintiff is free to refer to himself as a lVloorish
American or any other description he chooses The
Court, however, will not issue [*20] a Deciaration
pertaining to this patently frivolous position.

PENDING MOT|ONS

Plaintiff's iViotion for Recruitment of Counsel'is DEN|ED
as MOOT. (Doc. 3). Plaintiff's iViotion for Leave to
Proceed in Forma Pauperis (Doc. 2) shall be addressed
in a separate order of the Court.

 

6Even if this claim is not Heck-barred it is untime|y. The
applicable statute of limitations for a § 1983 Foun‘h
Amendment false arrest claim arising in illinois is two years
735 lLCS 5/13-202 (2009). "[A] § 1983 claim seeking damages
for a false arrest in violation of the Fourth Amendment, where
the arrest is followed by criminal proceedings begins to run at
the time the claimant becomes detained pursuant to legal
process." l/l/a//ace v. Kato, 549 U.S. 384, 397, 127 8. Ct. 1091,
166 L. Ed. 2d 973 (20071; see also Brooks v. City of Ch/'cagol
564 F.3d 830, 832 (7th Cir. 2009). Plaintiff's claim came more
than two years after his arrest, and thus any Fourth
Amendment false arrest claim that is not Heck-barred is time-
barred

 

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DlSPOS|TlON

|T |S HEREBY ORDERED that the claims directed
against Defendants USA, REAGAN, ST|EHL, JR.,
KAVANAUGH, BRENGLE, SKAGGS, JOHNSON,
PROSECUTORS OFF|CE, PROBATlON, FEDERAL
DEFENDER OFF|CE,' FC| ASHLAND and UNKNOWN
PARTY Prosecutors on Case are DiSM|SSED with
prejudice as legally frivolous

iT |S ALSO ORDERED that Plaintiff's claims pertaining
' to his status as a iVloorish American/Aliodiai American

National (the "Sovereign Citizen" claims) are

DiSM|SSED with prejudice as legally frivolous

i'i' iS ALSO ORDERED that ali remaining claims are
DiSM|SSED without prejudice as Heck-barred and
therefore legally frivolous

iT |S ALSO ORDERED that the action is DiSM|SSED
as legally frivolous The Court DiRECTS the Cierk of the
Court to close the case and enter judgment accordingly.

Plaintiff is ADVlSED that this dismissal shalicount as
' one of his three allotted "strikes" under the provisions of
28 U.S.C. § 1915(g). Plaintiffs obligation to pay
the [*21] filing fee for` this action was incurred at the
time the action was filed, thus the filing fee of $350.00
remains due and payable See 28 U.S.C. § 1915(b)(1);
Luci'en v.- Jockisch, 133 F.3d 464, 467 (7th Cir. 1998).

if Plaintiff wishes to appeal this Order, he may file a
notice of appeal with this Court within thirty days of the
entry ofjudgment. FED. R. APP. 4(a)(1)(A). A motion for

leave to appeal in forma pauperis should set forth the v
v United States District Judge

issues Plaintiff plans to present on appeal. See Fed. R
Cii/. P. 24(a1(11(C1. if Plaintiff does choose to appeal, he
will be liable for the $505.00 appellate filing fee

irrespective of the outcome of the appeal. See FED. R. `

APP. 3(e); 28 U.S.C.` § 1915(e)(2); Ammoris i/. Gerlinger
547 F.3d 724, 725-26 (7th Cir. 2008); S/oan'v. Lesza,
181 F.3d 857, 858-59 (7th Cir 1999); Lucien, 133 F.3d
at 467. il/loreover, if the appeal is found to be
nonmeritorious, Plaintiff may also incur another "strike."
A proper and timely motion filed pursuant to Federal
Ru/e of Civi'/ Procedure 59(e) may toll the 30-day appeal
deadline FED. R. APP. P. 4(a)(4). A Rule 59(91 motion
must be filed'no more than twenty-eight (28) days after
the entry ofjudgment, and this 218-day deadline cannot
be extended ’

lT lS SO ORDERED.

DATED: January 31, 2018

/s/ STAC| |Vi. YANDLE
District Judge ’

United States District Court'

JuociviENT iN A civii_ cAsE
YANDLE, District Judge: `

This action-came before the Court, District Judge Staci

~i\/i. Yandie, and the following decision was reached: '

JUDGMENT iS HEREBY ENTERED AGA|NST, Plaintiff
and |N- FAVOR OF Defendants Plaintiff shall
recover [*22] nothing Ciaims directed against
Defendants USA, Reagan, Stiehi, Jr., Kavanaugh,
Brengie Skaggs, Johnson, Prosecutors Office
Probation, Federal Defender Office, FC| Ashiand and
Unknown Party Prosecutors on Case are DiSM|SSED
with prejudice as legally frivolous Ciaims pertaining to
Plaintiff's status as a lVloorish American/Aliodiai
American National (the "Sovereign Citizen" claims) are
DiSM|SSED with prejudice as legally frivolous All
remaining claims are DiSM|SSED without prejudice as
He_ck-barred and therefore legally frivolous This
dismissal shall count as one of Plaintiff's allotted
"strikes" under 28 U.S.C. § 1915(g).

DATED: January 31, 2018 `
APPRovED; /s/ sTAci ivi_ YANDLE

STAC| i\/|. YANDLE

 

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As of: i\/lay 1, 2018 2:50 Pi\/l Z

Robinson v. Fischer

 

United States District Court for the Northern District of New York
March 31, 2014, Decided; il/larch 31, 2014, Filed
9:13-CV-1545 (GTS/TWD)

Reporter
`2014 U.S. Dist. LEX|S 44644 *; 2014 WL1289611

GARY FRANKL|N ROB|NSON, Plaintiff, v. BRlAN
FiSCHER, Defendant.

Core Terms

 

pro se, amended complaint, sovereign, amend, fail to
state a claim, injunctive relief, plaintiffs claim, cases
monetary damages further ordered, allegations invalid,
frivolous preliminary injunctive reiief, plaintiff seeks civil
rights set forth, incarcerati'on, confinement, requires

' notice, in forma pauperis habeas corpus plausibility,
citations expunged, records futile,j merits

, Counsel: [*1]GARY FRANKL|N ROBlNSON, Plaintiff,
Pro se iVlaione, NY.

Judges: Hon Gienn T. Suddaby, U. S. DistrictJudge

0pinion by: Glenn T. Suddaby

Opinion

 

DEC|S|ON and ORDER

l. INTRODUCTlON.

The Cierk has sent to the Court a pro se complaint filed
'by. plaintiff Gary Franklin Robinson pursuant to 42
U.S.C. § 1983 ("Section 1983"), together with an
application to proceed in forma pauperis Dkt. No. 1

("Compi."); Dkt. No. 4 ("iFP Application"). Plaintiff has ~

also filed a motion for preliminary injunctive reiief. Dkt.
No. 9. For the reasons set forth beiow, plaintiffs lFP
Application is granted; plaintiffs complaint is sua sponte
dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B) and 28
U.S.C. § 1915A(t)1 for failure to state a claim upon which
relief may be granted; and plaintiffs motion for
preliminary injunctive'relief is denied

|l. lFP APPLICAT|ON

Upon review of plaintiffs lFP Application (Dkt.' No. 4),
the Court finds that plaintiff has demonstrated economic
need and has submitted the inmate authorization form
required in this District. As a result, the Court grants
plaintiffs lFP Application

lll. SUA SPONTE REV|EW OF PLAiNTlFF'S
COMPLA|NT

Having found that plaintiff meets the financial criteria for
commencing this action in forma [*2] pauperis and
because piaintiff~seeks relief from a governmental entity .
or an officer or employee of a governmental entity, the
Court must consider the sufficiency of the allegations
set forth in the complaint in light of 28 U.S.C. §§ 1915(e) ‘
and 1915A. Section 1915(e) directs that, when a plaintiff
seeks to proceed in forma pauperis "(2) . . . the court
shall dismiss the case at any time if the court
determines that _ . . . (B) the action . . . (i) is frivolous
or malicious (ii) fails to state a claim on which relief may
be granted; or (iii) seeks monetary relief against a
defendant who is immune from such relief." 28 U.S.C. §
1915(e)(2)(B).1-Thus, 'even if a plaintiff meets the
financial criteria to commence an action in forma
pauperis it is the court`s responsibility to determine
whether the plaintiff _may properly maintain the
complaint that he filed in this District before the court
may permit the plaintiff to proceed with this action in
forma pauperis _See /'d.

LikeWise, under 28 U.S.C. § 1915A,

[*3] a court must

 

1To determine whether an action is frivolous a court must
look to see whether the complaint "lacks an arguable basis
either in law or in fact." Neitzke v. l/l//'///'ams, 490 U.S. 319, 325,
109 S. Ct. 1827, 104 L. Ed. 2d 338 (1989).

 

 

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2014'U.S. Dist. LEXIS 44644, *3

review any "compiaint in a civil action in which a
prisoner seeks redress from a governmental entity or
officer or employee of a governmental entity" and must
"identify cognizable claims or dismiss the complaint, or
any portion of the complaint, 'if the complaint . . . is
frivolous malicious or fails to state a claim upon which
relief may be granted; or . seeks monetary relief from
a defendant who is immune from such relief." 28 U.S.C.
§ 1915A; see also Carr i/, Dvorin', 171 F.3d 115, 116 (2d
Cir. 19991 (per curiam) (Section 1915A applies to all
actions brought by prisoners against government
officials even when plaintiff paid the filing fee); Abbas v.
Dixon, 480 F.3d 636, 639 (2d Cir. 2007) (stating that
both sections 1915 and 1915A are available to evaluate
prisoner pro se compiaints).

 

 

A. G_overning Legal Standard

it has long been understood that a dismissal for failure
to state a claim upon which relief can be granted
pursuant to Fed. R. Civ. P. 12(51(61, can be based on
one or both of two grounds (1) a challenge to the
"sufficiency of the pleading" »under`Fed. R Civ. P.
8(a1(21; or (2) a challenge to the legal cognizability of
the claim. Jackson v. Onondaga Cnty., 549 F. Supp. 2d
204, 211 nn.15-16 (N.D.N.Y. 2008) [*4] (iVicAvoy, J.,
adopting Report-Recommendation on de novo .review).

Because.such dismissals are often based on the first

ground, a few words regarding that ground are
appropriate RL//e 8(a)(2) of the Federal Ru/es of Civi/
Procedure requires that a pleading contain "a short and
plain statement of the claim showing that the pleader is
entitled to relief." Fed. R. Civ. P. 8(a1(21 (emphasis
added). in the Court's view, this tension between
permitting a "short and plain statement" and requiring
that the statement "show[]" an entitlement to relief _is
often at the heart of misunderstandings that occur
regarding the pleading standard established by Fed. R.

Civ. P. 8131(21.

On the one hand, the Supreme Court has long
characterized the "short and piain" pleading standard
under Fed. R.`Cii/. P. 8(a1(21 as "simpiified" and "|iberal."
Jackson, 549 F. Supp. 2d at 212 n.20 (citing Supreme
Court case). On the other hand, the Supreme Court has
held that, by requiring the above-described "showing,"
the pleading standard under Fed. R. Civ. P. 8(a1(21
requires that the pleading contain a statement that
_."give[s] the defendant fair notice of what the plaintiffs
claim is and the grounds [*5] upon which it rests."
Jackson, 549 F. Supp. 2d at 212 n.17 (citing Supreme

court to draw the reasonable

Court cases) (emphasis added).

The Supreme Court has explained that such fair notice
has the important purpose of "enabl[ing]~the adverse
party to answer and prepare for triai" and "faciiitat[ing] a
proper decision on the merits" by the court. Jackson,
549 F. Sup,o. 2d at 212 n.18 (citing Supreme Court
cases); Rusvniak v.' Gensini, 629 F. Supp. 2d 203 213
8 n.32 (N.D.N.Y. 20091 (Suddaby, J.) (citing Second
Circuit cases). For this reason, as one commentator has
correctly observed, the "iiberai" notice pleading standard
"has its iimits." 2 Moore's Federal Practice § 12.34(1)(b)
at 12-61 ' (3d ed. 2003). For example numerous
Supreme Court and Second Circuit decisions exist
holding that a pleading has failed to meet the "iiberai"
notice pleading standard Rusvniak, 629 F. Supp. 2d at
213 n.22 (citing Supreme Court and Second Circuit
cases); see also Ashcroft v.' /qt)a/, 556 U.S. 662, 677-
84, 129 S. Ct.v 1937, 173 L. Ed. 2d 868 (2009).

 

 

 

lVlost notably, in Bell At/; Corp. v. Twombly,. the
Supreme Court reversed an appellate decision'hoiding
that a complaint had stated an actionable antitrust claim
under 15 U.S.C. § 1. Be// At/. Corp. v. Twomblv, 550
U.S. 544, 127 .S. Ct. 1955, 167 l_. Ed. 2d 929 (2007).
[*6] in doing so, the Court »"retire[d]" the famous
statement by the Court in Con/ey v. Gil)s`on, 355 U.S.
41, 45-46, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957), that "a
complaint should not be dismissed for failure to state a
claim unless it appears beyond doubt that the plaintiff
can prove no set of facts in support of his claim which
would entitle him to relief." Twomt)li/,l 550 U.S. at 561-
Q. Rather than turn on the 'conceivabi/ity of an

 

actionable ciaim,' the ~Court clarified, the ."fair notice"

standard turns on the plausibility'of an actionable ciaim.
/d. at 555-72. The Court explained that, while this does
not mean that a pleading need "set out in detail the facts
upon which [the claim is based],"_ it does mean that the
pleading must contain at least "some factual
ailegation[s]." ld. at 555-56. iViore specificaiiy, the
"[f]actual allegations must be enough to raise a right to
relief above the speculative level [to a plausible ievel],"-
assuming (of course) that ali the allegations in the
complaint are true. /_d.

As for the nature_of what is "piausible,"' the Supreme
Court explained that "[a] claim has facial plausibility
when the plaintiff pleads factual content that allows the
inference _that the
defendant [*7] is liable for the misconduct alleged."

/gba/l 556 U.S. at 678. "[D]etermining whether a
complaint states a plausible claim for relief . . . [is] a

context-specific task that requires the reviewing court to`

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draw on its judicial experience and common sense . . .
[VV]here the well-pleaded facts do not permit the court to
infer more than the mere possibility of misconduct the
compiaint`has aileged_but it has not show[n]-that the
pleader is entitled to relief." ld. at 679 (internal quotation
marks and citations omitted). However, while the
plausibility standard "asks for more than a sheer
possibility that a defendant has acted uniawfully," id., _it
"does not impose a probability requirement." Twomb/y
550 U.S. at 556. '

Because of this requirement of factual allegations
plausibly suggesting an entitlement to relief, ,"the tenet
that a court must accept as true ali of the allegations
contained in the complaint is inapplicabie'to legal
conclusions Threadba're recitals of the elements of a
cause of action, supported by merely conclusory
statements do not suffice." gba/l 556 U.S. at 678.
Similariy, a pleading that only "tenders naked assertions
devoid of further factual enhancement" will not
[*8] suffice /d. (internal citations and alterations
omitted). Ru/e 8 "demands more than an unadorned,
the-defendant-unlawfully-harmed-me accusation." ld.
(citations omitted).

' This pleading standard applies even to pro se litigants

While the special leniency afforded to pro se civil rights
litigants somewhat loosens the procedural rules
governing the form of pleadings (as the Second Circuit
has observed), it does not completely relieve a pro se
plaintiff of the duty to satisfy the pleading standards set
forth in Fed. R. Civ. P. 8, § and Q.z Rather, as both
the Supreme Court and Second Circuit have repeatedly
recognized, the requirements set forth in Fed. R. Civ. P.
§, § and _12 are procedural rules that even pro se civil
rights plaintiffs must foilow.3 Stated more vsimply, when
a plaintiff is proceeding pro se l'aii normal rules of
pleading _are not absolutely suspended" Jackson, 549
F. Supp. 2d`at 214 n.28 (citations omitted).4

 

2See Veqa v. Arfus 610 F. Supp. 2d 185, 196 & nn.8-9
(N.D.N.Y. 2009) (Suddaby, J.) (citing Second Circuit cases);
Rusyniak, 629 F. Supp. 2d at 214 & n.34 (citing Second Circuit
cases)._

3See l/eda, 610_F. Supp. 2d at 196, n.10 (citing Supreme
Court and Second Circuit [*9] cases); RL/syniak 629 F. Supp.
2d at 214 & n.34 (citing Second Circuit cases).

4lt should be emphasized that Fed. R. Civ. P. 8's plausibility
standardl explained in Twombly, was in no way retracted or
diminished by the Supreme Court's‘decision (tvvo weeks iater)
in Erickson v. Pardus, in which (when reviewing a pro se

y Venue and Jurisdiction . .

With this standard
plaintiffs complaint

in mind, the `Court will review

B. Review of the Complaint

Plaintiff brought this action under Section 1983 which
establishes a cause of action for "the deprivation of any
rights privileges or immunities secured by the
Constitution and laws",of the United States German v.
Fed. Home Loan Morto. Corp., 885 F. Supp. 537, 573

~ (S.D.N.Y. 19951 (citing l/l/ilder i/. \/irdinia Hosp, Ass’n,

496 U.S. 498, 508, 110 S. Ct. 2510, 110 L. Ed. 2d 455
(19901(quoting 42 U.S.C. § 1983))_ (footnote omitted).

Although most of his complaint is rambling and far from
clear, construed iiberaiiy, the gravamen of plaintiffs
complaint is that he is a "Sovereign American," and is
being held in the custody of the New York State
Department, of Corrections and Community Supervision
("DOCCS") pursuant to an invalid contract, or no
contract Compl. at 1. Plaintiff claims that, because he is
"sovereign," the only way that the government can have
authority over him is through a contractual agreement
ld. at 2-4. As reiief, plaintiff seeks his immediate release
from incarceration, as weil as monetary damages
resulting from both the alleged illegal confinement and
from his rights [*11] as a sovereign.5 See generally
Compl. Plaintiff also requests that his "criminal records

 

pleading) the Court stated "Specific facts are not necessary" _
to` successfully state a claim u-nder Fed. R. Civ. P. 8(a1(21.

Erickson v. Pardus, 551 U.S. 89, 93, 127 S. Ct. 2197, 167 L.

Ed. 2d 1081 (20071 (emphasis added). That statement was

merely an abbreviation of the often-repeated'point of iaw--first

offered in Con/ey and repeated in Twombly_that a pleading

need not "set out in detail the facts upon which [the claim is

based]" in order to successfully state a ciaim. Twomb/y 550 _
U.S. at 555 n.3 (citing Con/ey, 355 U.S. at 47) (emphasis
added). That statement did not mean that all pleadings may
achieve the requirement of "fair notice" without ever alleging
any facts whatsoever. 'Clearly, there must still be enough fact
alleged (however set out, whether in detail or in a generalized 4
fashion) to raise a right to relief above the speculative level to
a plausible levei. See Rusvn/`ak, 629 F. Supp. 2d at 214 &
[*10] n.35 (explaining holding in Erickso'n).v

 

5Plaintiff attached a number of documents that he has
executed purporting to renounce "all allegiance to the Foreign
. of and within the United States
(Washington DC)." Dkt. No. 1-1 at 2. Plaintiff also claims to be
"not subject to . . . the Corporate United States of America, the
Corporate State of New York, and/or any other Corporate
Governmenta| body, whatsoever, without a valid contract." /d.
at 1. `

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photos fingerprints [andj blood samples" relating to his
criminal conviction be returned to him. /d. at 6. For a
more complete statement of plaintiffs claims refer to
the complaint

1. Request for immediate Re|ease

insofar as plaintiff seeks his immediate release from
prison, his claims are not cognizable in this Section
1983 action. in Preiser v. Rodriguez, 411 U.S. 475, 93
S. Ct. 1827, 36 L. Ed. 2d 439 (1973). the Supreme
Court held that habeas corpus was the appropriate
remedy for prisoners challenging the fact or duration of
their confinement See id. at 490; see also Channer v.
Mitche//, 43 F.3d 786, 787 (2d Cir. 1994) (noting that
"habeas corpus _ not a § 1983 action - provides the
sole federal [*12] remedy where a state prisoner
challenges the fact or duration of his imprisonment . . . ."
(citing Preiser, 411 U.S. at 488-90). Although plaintiff
styles his pleading as a civil rights complaint, Section
1983 does not provide a remedy for what plaintiff claims
is his unlawful detention by DOCCS.

 

Therefore, to the extent that plaintiff seeks his
immediate release from incarceration, that claim is
dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B) and §
U.S.C. § 1915A(l)1(11 for failure to state a claim upon
which relief may be granted under Section 1983

2. Request for Monetary Damages and injunctive
Reiief

Plaintiff seeks monetary damages for his alleged
unlawful confinement by DOCCS and injunctive relief in
_ the form of directing defendant to return plaintiffs
criminal records to him. Compl. at 6. Liberaily construed,
the request for the return of his records is in essence a
request to expunge any reference to plaintiffs criminal
conviction '

in Heck v. Humphrev, 512 U.S. 477, 486-87, 114 S. Ct.
2364, 129 L. Ed. 2d 383 (1994), the Supreme Court
held that a Section 1983 action seeking money
damages is not cognizable if a decision in favor of the
plaintiff would necessarily invalidate a criminal
conviction unless that conviction [*13] or sentence "has
been reversed on direct appeal, expunged by executive
order, declared invalid by a state tribunal . . ., or called
into question by a federal court's issuance of a writ of

habeas corpus . . . ." ld. at 486-87.6 "Heck uses the
word 'sentence`- interchangeably with . . . 'continuing
confinement' and 'imprisonment,"' thus _any shortening
of a term of confinement will be subject to the rule in
Heck. Vl/i/kinson v. Dotson, 544 U.S. 74, 83-84, 125 S.
Ct. 1242, 161 L. Ed. 2d 253 (2005) (quoting Heck 512
U.S. at 483l 4861 (other citation omitted); see also w
v. New York State Noi 07 Civ. 5890, 2009 U.S. Dist.
LEX/S 34844, 2009 WL 928134, at *6 (S.D.N.Y. Mar.
30, 20091 (citing cases). indeed an inmate's Section
1983 action is barred -by Heck "(absent prior
invalidation) - no matter the relief sought (damages or
equitable relief), no matter the target of the prisoner's
suit . . . if success in that action would necessarily
demonstrate the invalidity of confinement or its
duration." Wi/kinson, 544 U.S. at 81-82 (emphasis in
original); see also Bodie v. Morqenthau, 342 F. Supp.
2d 193, 201 (S.D.N.Y. 2004) (denying plaintiffs request
for injunctive relief where plaintiff sought "to compel
specific action pertaining to the content of [his]
[*14] parole records").

 

 

 

Here, plaintiffs claims for monetary damages and
injunctive relief are both predicated upon his assertion
that he is illegally incarcerated by DOCCS. An award of
monetary damages for his incarceration or the
expungement of his criminal record would each
necessarily imply that his conviction was invalid The
allegations in the complaint are not sufficient to allow
the Court "to draw the reasonable inference" that
plaintiff has established as he must, that he has been
illegally detained; that he was improperly convicted or
that his conviction has been reversed, expunged
declared invalid, or called into question by a federal
court's issuance of a writ of habeas corpus7 Thus,
plaintiffs claims for monetary damages and injunctive
relief are barred by Heck v. Humphrey.

Accordingly, plaintiffs claims for monetary damages for
his alleged unlawful incarceration and injunctive relief
seeking expungement of his criminal records are
dismissed in their entirety pursuant to 28 U.S.C. §

 

6Absent such a showing, an inmate may only seek relief in the
federal courts through a petition for habeas corpus See
Jenkins v. HaL/t)ert, 179 F. 3d 19, 23 (2d Cir. 1999).'

7The Court notes that plaintiff has been denied habeas relief
twice See Robinson v. Pontuondo, No. 6:01-CV-6154'
(W.D.N.Y.) (dismissing habeas petition as untimely), appeal
dismissed id,, Dkt. No. 10; Robinson v. Smith, No. 6:03-CV-
6633 [*15] (W.D.N.Y.), Dkt. No. 9 (Second Circuit lVlandate

denying leave to hle a second or successive habeas petition). 1

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1915(e)(2)(B) and 28 U.SiC. § 1915A(b1(11 for failure to

state a claim upon which relief may be granted

3. Ciaims Based Upon "Sovereign Citizenship"

The Second Circuit has described "sovereign citizens"
as "a loosely affiliated group who believe that the state
and federal governments lack constitutional legitimacy
and therefore have no authority to regulate their
behavior."8 United States v. Ul/oa, 511 F. App'x 105,
. 107 n.1 (2d Cir. 20131. The "sovereign citizen" belief
system has been described by other courts as
"completely without merit," "patentiy frivolous,_" United
States v. Jadim, 978 F.2d 1032, 1036 (8th Cir. 1992),
and having "'no conceivable validity iri American law,"
United States v. Schneider, 910 F.2d 1569, 1570 (7th

Cir. 1990).

The Court therefore conciudes~that, to the extent
plaintiffs claims are premised on his rights as a
"sovereign citizen," those claims are dismissed pursuant
to 28 U.S.C. § 1915(e)(2)(B) and 28 U.S.C. § 1915A(bj
for failure to state a claim upon which relief may be
granted, and because such claims are frivolous

4. Plaintiff's Fai|ure to Persona|iy Sign the
Complaint '

Plaintiff has not personally signed the complaint See
Compl. at 6-7. instead, the complaint is signed by
Shaiiee Johnson, as power of attorney for plaintiff /d.
Ru/e 11(a) of the Federal Ru/es of Civi/ Procedure
("Fed. R. Civ. P.") states '

(a) Signature. Every pleading, written motion, and
other paper must be signed by at least one attorney
of record in the attorney's name--or by a party
personally if the party is unrepresented . . . . The
court must strike an unsigned paper unless the
omission is promptly corrected after [*17]'being
called to the attorney's or party's attention.

 

8Although plaintiff refers to himself as a "Sovereign
American," the beliefs he subscribes to mirror those of
sovereign citizens [*16] "Sovereign citizens apparently also
believe that, by entering into contracts with the federal

government or by receiving benefits from it, they lose their,

birthright of sovereign citizenship." Gauthier v. Kirkpatrick_, No.
2513-Cl/-0187, 2013 U.S. Dist. LEX/S 172578, 2013 l/l/L
6407716. at *17, n.18 (D.l/t. Dec 9, 2013) (citation omitted).

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Fedi R. Civ. P. 11(a1.9 By statute parties appearing in a
federal court may "plead and'conduct their own cases
personally or by counsel." 28 U.'S.C. § 1654; see Berrios
v. New York City HoL/s Auth,, 564 F.3d 130 132 (2d
Cir. 20091. "Although jsectionj 1654 thus recognizes that
an individual generally has the right to proceed pro se
with respect to his own claims or claims against him
personaiiy, the statute does not permit unlicensed
laymen to represent anyone else other than
themselves." Berrios 564 F. 3d at 132 (internal quotation
marks omitted;~ emphasis in originai). This rule
recognizes that "a non-attorney creates unusual
burdens" for his adversary, the court, as weil as the
party he intends to represent _Berrios 564 F.3d at 133;
see also Iannaccone v. l_aw, 142 F.3d 553, 558 (2d Cir.
M (because pro se means to appear for one's seif, a
person may not appear on another person's behalf in
the other's cause); Phi/lips v. Tobin, 548 F. 2d 408, 411
n.3 (2d Cir. 19761. Shaiiee Johnson purports to sign on
plaintiffs behalf as plaintiffs power of attorney.' There is
no indication that Shaiiee Johnson is a iawyer. Even
assuming that [*18] Shaiiee Johnson is authorized to
act on plaintiffs behalf in legal matters under a power of
attorney, this does not overcome the requirement under

 

 

section 1654 "that a non-attorney is not allowed to

represent another individual in federal court litigation

. without the assistance of counsel." Berrios 564 F.3d at

 

_1_33 "A power of attorney does not allow that person to
proceed pro se on behalf of their principai[.]" C/ark v.
Burqe No. 06-Cl/-0658, 2007 U.S. Dist. LEX/S 28939,

 

42007 i/i/L 1199475, at *2 (i/i/.D./\/.Y. Apr. 19, 2007).10

Accordingly, in the event that plaintiff submits a pro se
amended complaint, as discussed below in Part lll.C.,
plaintiff must personally sign the amended complaint

 

gRu/e 10.1(01(21 of the Local Ruies of Practice of this District
also requires that all documents submitted to the Court must
include the original signature Qf the attorney or the pro se
litigant

10 See also Meqna v. U.S. Department of l\/avv, 317 F, Supp.
2d 191 '192 (E.D.N.Y. 20041 ("Although New York Genera/
Ob/igations Law § 5-1502H authorizes an agent holding a
sufhcient power of attorney '[t]o assert and prosecute before
any court any cause of action which the principal has or
claims to have against any individual,' [*19] that statute only
permits the agent to hire on behalf of her 'principal, see e.g., /_n
re Khoubesserian, 264 A.D.2d 599, 600. 695 N.Y.S.2d 312,
314 (2d Dep't 1999), leave to appeal denied 94'N.Y.2d 757,
704 N.Y.S.2d 532, 725 N.E.2d 1094 (1999), not to commence
an action pro se in the name of her principall.").

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C. Dismissal With or Without Leave

Generally, when a district court dismisses a pro se
action sua sponte the plaintiff will be allowed to amend
his action. See Gomez v. USAA Fed. Sai/. Bank, 171
F.3d 794, 796 (2d Cir. 1999). However, an opportunity
to amend is not required where the plaintiff has already
been afforded the opportunity to amend.11

i\/ioreover, an opportunity to amend is not required
where the defects in the plaintiffs claims are substantive
rather than merely formal, such that any amendment
would be futile As the Second Circuit has explained
"[w]here it appears that granting leave to_ amend is
unlikely to be productive . . . it is not an abuse of
discretion to deny leave 'to amend." Ruffolo v.
O_ppenheimer & Co., 987 F.2d 129, 131 (2d Cir. 1993)
(citations omitted), accord, Brown v. Peters. /Voi 6:95-
Cl/-1641 (RSP/DS), 1997 U.S. Dist. LEX/S 14718, 1997
l/l/L 599355, at *1 (N.D.N.Y. Sept. 22, 1997) ("[T]he
court need not grant leave to amend where it appears

 

 

 

that amendment would prove to be unproductive or`

.. futile.") (citation omitted); [*21] see also Foman v.
Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222
(19621 (deniai not abuse of discretion where
amendment would be futiie); Cuoco v. Moritsugux 222
F.3d 99 112 (2d Cir. 20001 ("The problem with Cuoco's
causes of action is substantive; better pleading will not
cure it. Repleading would thus be futile Such a futile
request to replead should be denied") (citation omitted);

 

 

118/riner v. Brown, No. 07-Cl/-0937, 2009 U.S. Dist. l_EX/S
124791 2009 l/l/L 790973, at *5 8 n.25 (N.D.N.Y. March 23,
LQQZ (i\/icAvoy, J., adopting Report-Recommendation by
Lowe, iVi.J.) ("Of course an opportunity to amend is not
required where the plaintiff has already amended his
complaint."), accord, Smith v. Fischer, No. 07-Cl/-1264, 2009
U.S. Dist. LEX/S 129478, 2009 l/l/L 632890, at *5 8 n.20
(N.D.N.Y, March 9 20091 (Hurd, J., adopting Report-
Recommendation by Lowe, iVl.J.); Abasca/ v. Hi/ton No. 04-
C\/-1401, 2008 U.S. Dist. LEX/S 6856, 2008 WL 268366, at *8
(N.D.N.Y, Jan. 30 20081 (Kahn, J., adopting, on de novo
review, Report-Recommendation [*20] by Lowe, i\/l.J.); see
also Yanq v. New York City Trans Authi, No. 01-CV-3933,
2002 U,S. Dist. LEX/S 20223, 2002 Wl_ 31399119, at *2
(E.D.N.Y. Oct. 24x 20021 (denying leave to amend where
plaintiff had already amended complaint once); Advanced
Mar/'ne Techs. v. Burnham Sec ., /nc. 16 F. Supp. 2d 375, 384
(S.D.N.Y. 19981 (denying leave to amend where plaintiff had
already amended complaint once); cf. Foman v. Davls 371
U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222 (1962) (deniai of

 

 

leave to amend not abuse of discretion if movant has .

repeatedly failed to cure dehciencies in pieading).

Con‘ec /ndus., /nc. v. Sum Ho/dinq l_.P., 949 F.2d 42, 48
(2d Cir. 19911 ("Of course where a plaintiff is unable to
allege any fact sufficient to support its claim, a complaint
should be dismissed with prejudice") (citation omitted);
Health-Chem Corp. v. Baker, 915 F.2d 805, 810 (2d
Cir. 19901 ("[VV]here . . . there is no merit in the proposed
amendments leave to amend should be denied").

This rule applies even to pro se plaintiffs See e.g.,
Cuoco, 222 F.3d at 103; Brown, 1997 U.S. Dist. LEX/S
14718, 1997 WL 599355, at *1. As explained above in
Part lll.A. of this Decision and Order, while the special
leniency afforded to pro se civil rights litigants somewhat
loosens the procedural rules governing the form of
pleadings (as the Second Circuit has observed), it does
not completely relieve a pro se plaintiff of the duty to
satisfy the pleading standards [*22] set forth in Fed. R.
Civ. P. 8, § and Q. Rather, as both the Supreme Court
and Second Circuit have repeatedly recognized the
requirements set forth iri Fed. R. Civ. P. 8, 10 and g
are procedural rules that even pro se civil rights plaintiffs
must foilow.

 

Here, because the Court finds that any amendment of
any of plaintiffs claims based upon his status as a
sovereign citizen are without merit, and wholly frivolous
the Court dismisses those claims with prejudice
pursuant to 28 U.S.C. § 1915(e)(2)(B) and 28 U.S.C. §
1915A(b1.

The Court reaches a different conclusion with regard to
plaintiffs remaining claims which challenge his
conviction and seek monetary damages or injunctive
relief arising from his alleged illegal incarceration.
Granted, the Court has some difficulty finding that the
defects in these claims are merely formai. However, the
Court is mindful of the special solicitude that should be
afforded to pro se civil rights litigants For that reason,
these claims are dismissed without prejudice12

.ln light of his pro se status the Court will afford plaintiff

the opportunity to file an amended complaint as to those
claims dismissed without prejudice See Gomez 171
F.3d at 796. in any amended complaint that plaintiff
submits in response to this Decision and Order, he must
set forth a short and plain statement of the facts on
which he relies to support his _claim that the individual

 

 

12See Amaker v. l/l/einer, 179 F.3d 48 (2d C/`r. 1999)
(dismissal under Heck is without prejudice; if plaintiffs
conviction or sentence is later declared invalid or called into
question [*23] by a federal court's issuance of a writ of
habeas corpus the suit may be reinstated).

 

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named .as a defendant engaged in misconduct or
wrongdoing that violated plaintiffs constitutional rights
and that he presently has the right to proceed with his
claims in this action. Plaintiff is advised that any
amended complaint will completely replace the prior
complaint in the action, and that no portion of any prior
complaint shall be incorporated into his amended
complaint by reference Plaintiff is also advised that he
must personally sign any amended complaint that he
submits ' '

if plaintiff fails to _submit an amended complaint,
personally signed by him, within thirty (30) days of the
filing date of this 4Decision and Order, the Court wili,
without further order, dismiss the remainder of this
action in its entirety [*24] without prejudice pursuant to

28 U.s.c. § 1915(e)(2)(B) and 28 u.s.c. § 1915A(bj for

failure to state a claim upon which relief may be

’ granted '

D. Motion for Preiiminary injunctive Reiief

Preliminary injunctive relief "'is an extraordinary and
drastic remedy, one that should not be granted unless
the movant, by a clear _showing, carries the burden of
persuasion."` /l/loore v. Conso/. Edison Co. of New York,
/nc., 409 F.3d 506, 510 (2d Cir. 2005) (quoting Mazurek
\/. Armstronq 520 U.S. 968, 972,‘ 117 S. Ct. 1865, 138
L. Ed. 2d 162 (199711. The standard a court must utilize
in considering whether to grant a request for injunctive
relief is weil-settled in this Circuit Citigroup Glot)a/
Mkts., lnci v. l/CG Specia/ Opportunities Master Fund
Ltd., 598 F. 3d 30, 35, 38 (2d Cir. 2010). To prevail on a
motion.for preliminary injunctive relief, a plaintiff must
demonstrate irreparable harm and either a substantial

 

 

 

likelihood of success on the merits of the ciaim, or'

sufficiently serious questions going to the merits and a
balance of hardships tipping decidedly in his favor. M
3_5; Cacchi/lo v. lnsmed, /nc., 638 F.3d 401, 405-06 (2d
Cir. 20111. However, when the moving party seeks a
"mandatory injunction that alters the status quo [*25] by
commanding a positive act," the burden is even higher.
ld.; see Jo//y'v. Couqh/in, 76 F.3d 468, 473 (2d Cir.
19961. Thus, a mandatory preliminary injunction "shouid
issue only upon a clear showing that the moving party is

entitled to the relief requested or where extreme or very ~

serious damage will result from a denial of preliminary
relief." Citidroup G/obal Mkts., 598 F.3d at 35 n.4
(internal quotation marks omitted).

Here, the Court has determined that plaintiffs complaint
is insufficient and that an amended complaint must be

filed if this action to proceed Without a valid pieading,
plaintiff can not possibly establish that `his claim has a
likelihood of success on the merits of the ciaim.or
sufficiently serious questions going to the merits and a
balance of hardships tipping decidedly toward the party
seeking injunctive relief, let alone the "clear showing"
that must be made for` the mandatory injunctive relief
that he seeks

Therefore, plaintiffs motion for injunctive relief is denied

. without prejudice to file a new motion if and when

plaintiff has filed an amended complaint and the
amended complaint survives sua sponte review under

28 u.s.c. § 1915(e)(2)(B) and 28 u.s_c. § 1915/mbt

iv.~ [*261 coNcLusioN
wHEREFoRE,‘ ii is hereby

ORDERED that plaintiffs lFP Application (Dkt. No. 4) is
GRANTED;13 and rt is further

ORDERED that the Cierk shall provide the
Superintendent of the facility, designated by plaintiff as
his current iocation, with a copy of plaintiffs
authorization form (Dkt. No. 5), and notify the official
that this action has been filed and that plaintiff is
required to pay to the Northern District of New York the
entire statutory filing fee of $350.00 pursuant to 28
U.S.C. § 1915; and it is'further

ORDERED that the Cierk provide a copy of plaintiffs
authorization form (Dkt. No. 5) to the Financial_ Deputy
of the Cierk's Office; and it is further 7

ORDERED that ali of plaintiffs claims based upon his
status as a sovereign citizen are DiSM|SSED `with
prejudice pursuant to 28 U.S.C. § 1915(e)(2)(B) and _2_§
ULS.C. § 1915A(bj for failure to state a claim upon which
relief may be granted and as frivolous and it is further

ORDERED that the remainder of plaintiffs complaint is
DiSM|SSED without [*27] prejudice pursuant to 28

u.s.c. § 1915(e)(2)(B) and 28 u.sc.- § 19157\(1)1 for

failure to state a claim upon which relief maybe
granted; and it is further

ORDERED that if plaintiff wishes to proceed with this
action he must, within thirty (30) days from the filing

 

13 Plaintiff should note that although his lFP Application has
been granted he will still be required to pay fees that he may
incur in this action, including copying and/or witness fees

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date of this Decision and Order file an amended
complaint as set forth above which must be
personally signed by plaintiff; and it is further

ORDERED that upon plaintiffs compliance with this
Decision and Order this matter be returned to the Court
for further review; and it is further

ORDERED that if plaintiff fails to timely file an amended
complaint as directed above the Cierk shall enter
judgment indicating that the remainder of this action is
DiSM|SSED without prejudice without further order
of this Court pursuant to 28 U.S.C. § 1915(e)(2)(B) and
28 U.S.C. § 19_15A(bj for failure to state a claim upon
which relief maybe granted in that event, the Cierk is
directed to close this case; and it is further

oRDERED that oiointirrs motion -ror proiiminary
injunctive relief (Dkt. No. 9) is DEN|ED; and it is further

ORDERED that the Cierk serve a copy of this Decision
and Order on piaintiff. `

lT iS SO ORDERED.
Dated: i\/iarch 31, 2014
Syracuse, [*28] NY
/s/ Gienn T. Suddaby
v Hon._ Gienn T. Suddaby

U.S. District Judge

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As of; iviay 1, 2018 2;51 Pivi z

Muhammad v. Smith

United States District Court for the Northern District of New York
Juiy 23, 2014, Decided; Juiy 23, 2014, Filed
3:13-cv-76O (lViAD/DEP)

Reporter 1 .
2014 U.S. Dist. LEX|S 99990 *; 2014 WL 3670609

JAl\/llL ABDUL iVlUHAl\/li\/iAD, Plaintiff, vs JUDGE
iVlARTlN E. Sl\/llTH; JASON WHlTE, Assistant District
Attorney; BROO|V|E COUNTY COURTS, 6TH
DlSTRiCT; AlViER|CAN BAR ASSOC|AT|ON; UN|TED
STATES OF AiVlERlCA; and STATE OF NEW YORK,
Defendants

Prior History: Muhammad v. Judqe 2013 U.S. Dist.
LEX/S 148510 (N.D.N.Y, Oct. 16, 2013)

 

Core Terms

 

Recommendation,- magistrate judge redemptionist,
frivolous state actor, amended complaint, entity,
sovereign, strawman, Courts, rights bar association,
theories ORDERS, pro se, citations immunity, filings
party's

Counsel: [*1] JAlViiL ABDUL lVlUHAi\/li\/lAD, Plaintiff,
Pro se Aibion, New York. »

Judges: ll/iae A. D'Agostino, United States District
Judge.

Opinion by: iViae A. D`Agostino

Opinion

 

MEMORANDUM-DEC|S|ON AND ORDER

l. |NTRODUCT|ON

Plaintiff, who is currently a New York State prisoner but
was not at the time this action was filed, commenced
this civil rights action asserting claims against a sitting
judge an assistant district attorney, a county court, and
the American Bar Association. See Dkt. No. 1. in an
October 16, 2013 Report, Recommendation, and Order,

Magistrate Judge Peebies conducted an initial review of
the complaint and recommended that the complaint be
dismissed with leave to replead only as to any claims
asserted against Defendant American Bar Association.
See Dkt. No. 19.

Currently before the Court is i\/lagistrate Judge Peebies'
Report, Recommendation, and Order and Plaintiffs
objections thereto.

ll. BACKGROUND

Plaintiff's complaint and his many subsequent filings are
largely unintelligible in his complaint, Plaintiff identifies
himself as a "iVloor/Sovereign/a Freeman On The Land/
a l\/lan, Real Live Flesh and Blood[.]" Dkt. No. 1 at 3.
Plaintiff claims that, through his "unalienated rights
under UCC1-207(3081," he is "entitied to any interpieted
[*2] Funds relative to JAM|L ABDUL iVlUHAi\/i|\/lAD, and
the defendant is determined to be Barred from any
collection of my alleged debt from JAiVilL ABDUL
iVlUHAi\/li\/iAD relating to Jamil Abdul Nluhammad and
defendant had in no 'CLA||V| iN FACT."' /d. at 5.

From other submissions submitted by Plaintiff, it
appears that Plaintiff was sentenced by Broome County
Court Judge Martin E. Smith, a named Defendant,
based upon a plea of guilty entered in that court. See
Dkt. No. 7 at 2. Plaintiff appears to allege that, as a
result of those proceedings Judge Smith is guilty of
kidnapping, and is liable for conspiracy to violate his civil
rights in violation of 18 U.S.C. § 241. See id. Further,
Plaintiff makes vague references to a clerk in
Binghamton named "Karen," and claims that she and
other Defendants have placed him in imminent harm.
See Dkt. No. 21 at 4-5. Plaintiff asks the Court to award
him "the dismissal of said charges" and to release him
"by implying said 'habeas corpus' granting [him]
immediate release of confinement[.]" /d. at 5.

ina Report, Recommendation, and Order, Magistrate

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Judge Peebies granted Plaintiffs motion to proceed in
forma pauperis and then conducted an initial review of
the complaint "[*3] See Dkt. No. 19. Magistrate Judge
Peebies noted that Plaintiffs complaint failed to meet
the minimal pleading standards set forth in Ru/e 8 of the
Federal Ru/es of Ci\/il Procedure, as weil as Twombly
and its progeny. See id. at 7. in light of his pro se status
however, l\/iagistrate Judge Peebies considered
Plaintiffs subsequent filings to determine if he has set
forth a plausible claim against any named Defendant.
See id. at 8.

 

i\/iagistrate Judge Peebies first found that Defendants
Smith and White are entitled to absolute immunity
because Plaintiffs claims against them are associated
with his prosecution in Broome County. See id. at 8-9.
Further, the report found that Plaintiff's claims brought
pursuant to 18 U.S.C. § 241 should be dismissed
because it is a criminal statute that does not give rise to
a private cause of action. See id. at 9 n.6 (citations
omitted). Next, Magistrate Judge Peebies concluded

that Plaintiff's claims against the Broome County Courts'

must be dismissed because they are an extension of the
state immune from suit under the
Amendment See id. at 10. Thereafter, l\/lagistrate Judge
Peebies found that the Court should dismiss Plaintiff's
claims against Defendant [*4] American Bar
Association ("ABA") because Plaintiff failed to allege
any facts to plausibly suggest that Defendant ABA is a
state actor, or that it acted under color of state law when
allegedly violating Plaintiffs rights. See id. at 10-1'1.
Finally, Magistrate Judge Peebies recommended that

the Court dismiss ali ciaims'with prejudice except those .

asserted against Defendant ABA. See id. at 12-13`.

Currently before the Court are Magistrate Judge
Peebies Report, Recommendation, and Order, and
Plaintiffs objections thereto. Additionally pending before
the Court are several letter motions along with an
amended complaint Plaintiff filed after the issuance of
the Report, Recommendation, and Order.`

lil. DlSCUSS|ON

A. Redemptionist and sovereign citizen theories

Plaintiffs assertions appear to be based at least in part,
on the "redemptionist" theory or the related "sovereign
citizen" theory, which are frivolous legal theories that
have been consistently rejected by federal courts See
Monroe v. Beard, 536 F.3d 198, 203 n.4 (3d Cir. 2008).

E/eventh

The United States Court of Appeals forl the Third Circuit
explained:

"Redemptionist" theory . . . propounds that a person
has a split personality: a real person [*5] and a
fictional person called the "strawman." The
"strawman" purportedly came into being when the
United States went off the gold standard in 19[3]3,
and, instead pledged the strawman of its citizens
as collateral for the country's national debt.
Redemptionists claim that government has power
only over the strawman and not over the live
person,- who remains free individuals can free
themselves by filing UCC financing statements
thereby acquiring an interest in their strawman.
Thereafter, the real person can demand that
government officials pay enormous sums of money
' to use the strawman's name or, in the case of
prisoners to keep him in custody. if government
officials refuse inmates are encouraged to file liens
against correctional officers and other prison
officials in order to extort'their release from prison.
Adherents of this scheme also advocate that
inmates copyright their names to justify filing liens
against officials using their names in public records
' b such as indictments or court papers

ld. (citation omitted).1

Plaintiff also apparently adheres to the Redemptionist

theory regarding [*6] the use of capital letters
Redemptionists claim that by a birth certificate the
government created strawmen out of its citizens A
person's name spelled in English, that is with initial
capital letters and small letters represents the real
person, that is the flesh and blood person.
Whenever a person's name is written in total
capitals, however, as it is on a birth certificate the
Redemptionists believe that only the strawman is
referenced and the flesh and blood person is not
involved

Mcl_authin v. CitiMortoac/e, /nc.., 726 F. Stipp. 2d 201,
210 (D. Conn. 20101 (internal quotation marks omitted);
see also Brvant v. l/l/ash. Mut. Bank, 524 F. Supp. 2d
753, 758-61 (l/l/.D. l/a. 2007).

 

Theories presented by redemptlonist and sovereign
citizen adherents have not only been rejected by the
courts but also recognized as frivolous and a waste of

 

1The Court notes that Plaintiff was convicted of Falsifying
Business Records in the First Degree.

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court resources See McLauqh/in v, 726 F. Suppi 2d at
2_10~(providing detailed explanation of the redemptionist
theory and rejecting it); Charlotte v. Hansen, 433 Fedi
Appx. 660, 661 (10th Cir. 2011) (rejecting the sovereign
citizen theory as having no» conceivable validity in
American law) (citation omitted). A prisoner's attempt "to
avoid the consequences [.*7] of his criminal conviction"
based on the redemptionist theory, has been recognized
as "legally frivolous" Ferquson-E/ v. l/iroinia, No.
3:100\/577, 2011 U.S. Dist. LEX/S 92557, 2011 WL
36523271 *3 (E.D. l/a. Aud. 18, 2011), and civil cases
based on redemptionist and sovereign citizen theories
have been found to be "utterly frivolous" and "patentiy
ludicrous," using "tactics" that are "a waste of their time
as weil as the court's time, which is paid for by hard-
earned tax doiiars." Barber v. Countrywide Home Loans,
/nc., Noi 2:090v40, 2009 U.S. Dist. LEX/S 123939, 2010
l/l/L 398915, *4 (l/l/.D.N.C. Oct. 7, 2009).

 

 

in short, Plaintiff seeks to avoid the consequences of his
conviction by suggesting he exists as two separate legal
entities and that the State of New York and Broome
County do not have jurisdiction over both entities and
thus must release him and pay him damages Such a
theory is legally frivolous See Tirado \/. New Jersey
No. 10-3408(JAP), 2011 U.S. Dist. LEX/S 32337, 2011
wt 1258624, *4-5 (D./\/../. Mar. 28, 2011) (obsorvrng a
similar argument "has absolutely no legal basis");
Marshal/ v. F/a. Dep't Corr., No. 10-Cl/-20101, 2010
U.S. Dist. LEX/S 142576, 2010 WL 6394565, *1 (S.D.
Fla. Oct. 27x 20101. Although the Court finds that these
theories are frivolous in light of his pro se status the
Court [*8] will consider each possible claim in greater
detaii.

 

B. The Report, Recommendation, and Order

Section 1915(e)(2)(B) directs that, when a plaintiff seeks
to proceed in forma pauperis "(2). . . the court shall
dismiss the case at any time if the court determines that
_ . . . (B) the action . . . (i) is frivolous or malicious (ii)
fails to state a claim on which relief may be granted; or
(iii) seeks monetary relief against a defendant who is
immune from such relief." 28 U.S.C. § 1915(e)(2)(B)2
Thus, although the Court has the duty to show liberality

toward pro se litigants see Nance v. Ke/ly 912 F.2d_

 

2To determine whether an'action is frivolous a court must
look to see whether the complaint [*9]"lacks an arguable
basis either in law or in fac ." Neitzke v. l/l/i//iams 490 U.S.
319. 325, 109 84 Ct. 1827, 104 L. Ed. 2d 338 (1989).

 

605, 606 (2d Cir. 1990) (per curiam), and should
exercise "extreme caution . . . in ordering sua sponte
dismissal of a pro se complaint before the adverse party
has been served and both parties (but particularly the
plaintiff) have had an opportunity to respond . .
Anderson i/. Cot/dh/in, 700 F.2d 37, 41 (2d Cir. 1983)
(internal citations omitted), the court also has a
responsibility to determine that a claim is not frivolous
before permitting_a plaintiff to proceed with an action in
forma pauperis3

. When reviewing a complaint, the court may also look to

the Federal Ruies of Civii Procedure Rule 8 of the
Federal Ruies of Civi/ Procedure provides that a
pleading that sets forth a claim for relief shall contain "a
short and plain statement of the claim showing that the
pleader is entitled to relief." See Fed. R. Civ. Pi 8(a1(21.
The purpose of Ru/e 8 "'is to give fair notice of the claim
being asserted so as to permit the adverse party the
opportunity to file a responsive answer, . . . prepare an
adequate defense,'" and determine whether the doctrine _
of res judicata is applicable Hudson v. Artuz No. 95
C/l/. 4768, 1998 U.S. Dist. LEX/S 18625, 1998 WL
832708,_ *1 (S.D.N.Y. Nov. 30, 1998) (quoting Powel/ v.
Marine Mid/and Bank, 162 F.R.D. 15, 16 (N.D.N.Y.
wl [*10] (quoting Brown \/. Ca/ifano, 75 F.F\’.D. 497,

498 (D.D.C. 1977111 (other citation omitted).

 

A court'shouid not dismiss a complaint if the plaintiff has
stated "enough facts to state a claim to relief that is
plausible on its face." Be/l At/. Corp. v. Twomb/y, 550
U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929
(20071. "A claim has facial plausibility when the plaintiff
pleads factual content that allows the court to draw the
reasonable inference that the defendant is liable for the
misconduct'alleged" Ashcroft v. /dba/, 556 U.S. 662,
678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (citation
omitted). Although the court should construe the factual
allegations in the light most favorable to the_piaintiff, "the

 

-tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to
legal conciusions." ld. _"Threadbare recitals of thev
elements of a cause of action, supported by mere
conclusory statements do not suffice." /d. (citing

 

3"Dismissai of frivolous actions pursuant to 28 U.S.C. §
1915(e) is appropriate to prevent abuses of the process of the
court," Ne/son v. Spitzer, No. 9.'07-C\/-1241, 2008 U.S. Dist.
LEX/S 6494, 2008 l/l/L 268215, *1 n.3 (N.D.N.Y. Jan. 29,
M (citation omitted), as well as "to discourage the Hling of
[baseiess lawsuits], and [the] waste ofjudiciai . . . resources[.]"
ivo/tz/<o 490 u.s. at327. '

 

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Twomb/y, 550 U.S. at 555).` Thus, "where the- well-
pieaded facts do not permit the court to infer more than
the mere possibility of m_isconduct, the complaint has
alleged - but it has not 'show[n]'- 'that the pleader is
entitled to relief "' /d at 679 (quoting Fed. R Civ P

8(a1(21)

When a party [*11]files specific objections to a
magistrate judge's report-recommendation, the district
court makes a "de novo determination of those portions
of the report or specified proposed findings or
recommendations to which objection is made" 28
U.S.C. § 636(b)(1) (2006). When a party, however, files
"[g]eneral or conclusory objections or objections which
merely recite the same arguments [that he presented] to
the magistrate judge," the court reviews those
recommendations for clear error. O’Diah v. Mawhir. No.
9.'08-€\/-322, 2011 U.S. Dist. LEX/S 26809, 2011 WL
933846, *1 (N.D.N.Y. Mar. 16, 2011) (citations and
footnote omitted). After the appropriate review, "the
court may accept, reject, or modify, in whole or in part,
_the findings or
magistratejudge" 28 U.S.C. § 636(b)(1) (2006).

A iitigant's failure to file objections to a magistrate
judge's report-recommendation, even when-that litigant
is proceeding pro se waives any challenge to the report
onappeal. See Cephas v. Nash, 328 F.3d 98, 107 (2d
Cir. 20031 (holding that, "[a]s a ruie, a party's failure to
object to any purported error or omission in a magistrate
'judge's report waives furtherjudiciai review of the point"
(citation omitted)). [*12] A pro se litigant must be given
notice of this rule; notice is sufficient if it informs the
litigant that the failure to timely object wi_ll result inthe
waiver of further judicial review and cites pertinent
statutory and civil rules authority. See Frank v. Johnson
968 F.2d 298, 299 (2d Cir. 1992); Smal/ \/. Sec'i/ of
Health 8 Human Servs., 892 F. 2d 15, 16 (2d Cir. 1989)
(holding that a pro se party's failure to object to a report
and recommendation does not waive his right to
appellate review unless the report explicitly states that
failure to object will preclude appellate review and
specifically cites 28 U.S.C. § 636(b)(1) and Ru/es 72,
Q@j and former 6(e) of the Federal Ru/es of Civi/
Procedure). v

 

 

 

Having reviewed the Report, Recommendation, and
Order and Plaintiffs objections thereto, the Court finds
that l\/iagistrate Judge Peebies correctly determined that
Plaintiffs claims should be dismissed As explained
below, however, the Court rejects Magistrate Judge
Peebies' recommendation insofar 'as it found that
Plaintiff should be permitted a chance to amend his

recommendations made by the`

complaint as to Defendant ABA.

Section 1983 itself does not create any substantive » n

rights rather, it provides a procedural mechanism

[*13] for redressing the deprivation of rights created by

the Constitution or laws of the United States See Sykes

v. James, 13 F.3d 515h 519 (2d Cir. 1993) (citing City of
Oklahoma City v. Tutt/e, 471 U.S. 808, 816, 105 S. Ct.

2427, 85 L. Ed. 2d 791 (1985)). To state a cognizable »
claim under Section 1983, a plaintiff must allege that

"'(1) the challenged conductwas attributable at least in

part to a person who was acting under color of state law

and (2) the conduct deprived the plaintiff of a right

guaranteed under the Constitution of the United

States."' Weiss v lnc l/i/lade of Sao Harbor, 762 F '
Supp. 2d 560 568 (E. D. /\/ Y 2011 ) (quoting S_nider v.
DV/ad 188 F 3d 51 53 (2d Cir. 1999))

The Supreme Court, in Lugar i/. Edmondson Oil Co.,
/nc., 457 U.S. 922 937, 102 S. Ct. 2744, 73 L. Ed. 2d
482 (19821, established a two-prong test for determining
when a private party's actions can be deemed to satisfy
Section 1983's requirement that the challenged conduct
was "under color of state iaw." Actions of a private party
can be deemed "fairiy attributable" to the state and
therefore treated as action taken "under color of state
law," when (1) the deprivation is "caused by the
exercise of some right or privilege created by the
[*14] State or by a rule of conduct imposed by the State
or by a person for whom the State is responsible," and
(2) "the party charged with the deprivation [is] a person
who may fairly be said to be a state actor." Ho//ander \/.

' Copacabana /\/iqhtc/ub, 624 F.3d 30, 33 (2d Cir. 2010)
(quoting Lugar 457 U.S4 at 937). A private party's ,`

actions maybe attributable to the state under the
second Lugar prong if it meets one of three tests (1)
"The 'compuision test': the entity acts pursuant to the
'coercive power' of the state or is 'controlied' by the
state"; (2) "The 'pubiic function test': the entity 'has been
delegated a public function by the [s]tate“'; or (3) "The
‘join`t action test' or 'close nexus test': the state provides
'significant encouragement to the entity, the entity is a
'wiiifui participant in joint activity with the [s]tate,' or the '
entity's functions are 'entwined' with state policies;"
/-lo//ander 624 Fi3d at 34 (quoting Sybalski v. lndep.
Grp. Home Livinq Proqram, lnc., 546 F.3d 255, 257 (2d
Cir. 20081 (internal citations omitted)). ' `

 

ln the present matter, Defendant ABA is a private party
which does not meet any of the three tests set forth
above Courts throughout the United [*15]` States have
already addressed this question and they have
unanimously held that the American Bar Association is

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not a state actor for purposes of a Section 1983 action.
'S'ee Hu \/. AmericanBar Ass'n, 334 Fed. Appx. 17, 18-
19 (7th Cir. 20091 (finding that the district court properly
dismissed the plaintiffs complaint because the ABA is
not a state actor); l_awline v. American Bar Ass'n, 956

 

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are entitled to absolute immunity since Plaintiff has
raised claims against them in their capacities as a judge
and prosecutor. See Hi// v. City of New York, 45 F.3d

653 660-61 (2d Cir. 19951 (quotation omitted); DuQuin
v. Kolbert, 320 F. Supp. 2d 39, 40-41 (l/l/.D.N.Y. 2004)

 

 

_ F.2d 1378 1385 (7th Cir. 1992) (conciuding that "private
bar associations are not state actors for the purpose of
Section 1983"); Rohan i/. American Bar Ass’n, No. 93
Cl/ 1338, 1995 U.S. Dist. LEX/S 21944, 1995 l/l//_
347035, *6-*7 (E.D.N.Y. May 31, 1995) (holding that the
ABA is a professional association, not a’state actor,
even though admission to practice law in New York
State requires graduation from an ABA-accredited law
school, because "the State of New York has not
explicitly delegated to the ABA its responsibility for
setting the requirements that an individual must meet in
order to be licensed as an attorney-at-law", and "any
conferral of monopoly status on the ABA by New York
State does not convert the ABA into a state actor"); see
also The Rea/ Estate Bar Ass'n for Mass., /nc. v. /\/at'/
Real Estate /nfo. Sen/s., 608 F.3d 110, 121-22 (1st Cir.
20101 [*16] (finding that state bar association was not a
state actor). `

 

in the present matter, the Court agrees that Defendant.

ABA is not a state actor for Section 1983 purposes New
York has not expressly delegated to the ABA its
responsibility for setting the requirements to practice law
in New York; rather, to become a member of the New
York Bar, an individual must comply with the Ruies of
the New York Court of Appeals on admission to
practice See Rohan, 1995 U.S. Dist. LEX/S 21944,
1995 l/l/L 347035 at *5. Further, the ABA was neither
established by the State of New York, nor is it funded or
supported by the State See 1995 U.S. Dist. LEX/S
21944! jWLZ at *7 (citations omitted). Additionally,
school accreditation has been recognized as a function
of private entities rather than one that "has been
z traditionally the exclusive prerogative of the State." /d.
(quotation and other citation omitted).

 

Based on the foregoing, the Court finds that Defendant
ABA is not a state actor. As such, the Court rejects
i\/iagistrate Judge Peebies' recommendation only insofar
as the report recommended that the Court dismiss the
claims against Defendant ABA without prejudice
Although the Court should generally permit a pro se

litigant an opportunity to amend dismissal with

[*17] prejudice is appropriate where as here any
amendment of the complaint would be futile

Further, the Court finds that Magistrate Judge Peebies
correctly determined that Defendants Smith and White

(citation omitted). Additionally, Plaintiffs claims against
the Broome' County Courts are barred by the Eleventh
Amendment See Thomas v. Bai/e`y, No. 10-cv-51 2010
U.S. Dist. LEX/S 15331, 2010 WL 662416, *1 (E,D.N.Y.
Feb.` 22 20101. Finally, to the extent that Plaintiff is
seeking his immediate release from custody1 such relief
is only available from this C_ourt by way of a writ of
habeas corpus issued pursuant to 28 U.S.C. § 2254.
See Preiser v. RodriqL/ez, 411 U.S. '475, 498-99, 93 S.

 

lCt. 1827, 36 L. Ed. 2d 439 (1975); See also BrOWn \/.

 

Freeport Police Dept., Nos. 13 Cl/ 4047, 13 Cl/ 6514,
2014 U.S. Dist. LEX/S 8524, 2014 l/l/l_ 279847, *5

(E.D./v.Y. dan 23 20141 (oitation omitted).

 

 

C. Plaintiff's amended complaint

i.n his amended complaint, Plaintiff names as
Defendants the "United States of America/Foreign
Corporation [*18] of United States" and the State of
New York, as well as the previously named Defendants
See Dkt. No. 34 at 1-2. in the amended complaint,
Plaintiff claims that the "United States of America is
guilty of criminal infringement of intellectual property,l
failure of consideration, act of indemnity, insurance
fraud securities fraud,'l as well as an apparent violation
of section 34 of the Judiciary Act4 and a conspiracy with
the other named Defendants in violation of 18 U.S.C. §
24_1. See id. at 4. Plaintiff claims that Defendants'
actions were "in violation of misnomer contracts of
surety" and led to his "wrong-fuli [sic] imprisonment via
commercial claims alleging DEATH and DEBT." ld.
Plaintiff is seeking his immediate release in addition to
$150,0000,000 "upon court ordered 'Reiease' from
cestui que 1vie life insurance policy and foreign
corporation of United States." /d. at 6. Additionally, '
Plaintiff asks the Court to "expunge ali criminal

 

4Originai|y § 34 ofthe Judiciary Act of 1789, [*19] the Ruies
of Decision Act, now contained in 28 U.S.C. § 1652, reads
"The laws of the several states except where the Constitution
or treaties of the United States or Acts of Congress otherwise
require or provide shall be regarded as rules of decision in
civil actions in the courts of the United States in cases where
they apply." lt is unclear how an improper application of the
Ruies of Decision Act violated Plaintiffs rights and Plaintiffs
nearly incomprehensible filings provide no insight

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proceedings charges finger prints DNA, biood,
mugshots, arrest/arrest record of alleged charges do to
. illegal commercial . . . surety contracts alleging DEATH
or DEBT upon 'RELEASE' being granted." ld.

Having reviewed the amended complaint, the Court
finds that Plaintiff has failed to plausibly allege that he is
entitled to any of the relief he seeks A plaintiff may not
collect damages for his alleged wrongful imprisonment
or conviction without first showing "that [his] conviction
or sentence has been reversed on direct appeal,
expunged by executive order, declared invalid by a state
tribunal authorized to make such determination, or
called into question by a federal court's issuance of a
writ of habeas corpus." Heck v. Ht/mphrey, 512 U.S.
477, 487, 114 S. Ct. 2364 129 L. Ed. 2d 383 (1994).
Here, Plaintiff has made no such showing and a review
of the Department of Corrections and Community
Supervision website demonstrates [*20] that Plaintiff is
still incarcerated Additionally, 18 U.S.C. § 241 is a
criminal statute which does not create a private cause of
action. See Storm-Eddink vi Gottfried, 409 Fed. Appx.

426! 427 (2d Cir. 20111 (citing cases)_.

 

Again, as discussed above Plaintiff's claims against
Defendants Smith and White must be dismissed
because they are entitled to absolute immunity. See M/L
45 F.3d at 660-61 (quotation omitted); Dth/inz 320 F.
Supp. 2d at 40-41 (citation omitted). Additionally,
Plaintiffs claims against the Broome County Courts and
the State of New York are barred by` the Eleventh
Amendment See Thomas, 2010 U.S. Dist. LEX/S
15331, 2010 l/l/L 662416, at *1. Further, to the extent
that Plaintiff is seeking his immediate release from
custody, such relief is only available from this Court by
way of a writ of habeas corpus issued pursuant to 28
U.S.C. § 2254. See Preiser, 411 U.S. at 498-99; see
also Brown, 2014 U.S. Dist. LEX/S 8524, 2014 l/l/L

279847 at *5 (citation omitted). Finally, Plaintiff alleges `

 

no facts against Defendant United States Rather, the
United States appears to have been included as a
Defendant solely under Plaintiffs ludicrous sovereign
citizen and redemptionist theories which are subject to
dismissal.

Based on the fo`regoing_, [*21]the Court finds that

Plaintiffs amended complaint fails to set forth any non- .

frivolous causes of action. Since permitting additional
amendment would be futile Plaintiffs amended
complaint is dismissed with prejudice `

in view of the frivolous nature of Plaintiff's claims, the
Court certifies pursuant to 28 U.S.C. § 1915(e)(3) that

any appeal from this order would not be taken in good
faith and, therefore in forma pauperis status is denied
for the purpose of an appeal. See Cop'pedge v. United
States 369 U.S. 438, 444-45, 82 S. Ct. 917, 8 L. Ed. 2d

‘ 21 (19621; see also S/ack v. McDanie/, 529 U.S. 473,

484, 120 S. Cti 1595, 146 L. Ed. 2d 542 (2000).

|V. CONCLUS|ON

After carefully considering Magistrate Judge Peebies'
Report, Recommendation, and Order, Plaintiffs

objections thereto, and the applicable law, and for the

reasons stated herein, the Court hereby

ORDERS that l\llagistrate Judge Peebies' October 16,
2013 Report, Recommendation, and Order is
ADoPTED in part and REJEcTED in p_art;5 and the
Court further '

ORDERS that Plaintiffs complaint and amended
complaint are.DlSMlSSED with prejudice; and the
[*22] Court further

ORDERS that the Cierk of the Court shall enter
judgment in Defendants' favor and close this case; and
the Court further

ORDERS that the Cierk of the Court shall terminate all
pending motions not addressed in this l\/iemorandum-
Decision and Order as moot; and the Court further

ORDERS that the Cierk of the Court shall serve Plaintiff

with a copy of this l\/lemorandum-Decision and Order.

iT is so oRDERED.

.Dated: Juiy 23, 2014

Albany, New York
/s/ iViae A. D'Agostino-
Mae A. D'Agostino

U.S. District Judge

 

End of Document

 

5i\/lagistrate Judge Peebies' Report, Recommendation, and
Order is only rejected insofar as it recommended that the
Court dismiss Defendant ABA without prejudice

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